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_ EXHIBIT IV.

' MASTER CREDIT AGREEMENT

Exhibit F

Joinder, Appointment of Collateral Agent and Consent

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EXHIBIT "F"

To that certain Master Credit Agreement dated April 30, 1998 (the "Master Credit Agreement”) by and among E.S.
Bankest LLC, a Florida corporation with its principal business address at 999 Brickell Avenue, Penthouse, Miami,
Florida, USA 33131 (herein "Borrower"); and BANK ESPIRITO SANT: ‘O INTERNATIONAL, LTD., a Cayman
Islands corporation, as Collateral Agent (“Collateral Agent”).

”, JOINDER, APPOINTMENT OF COLLATERAL AGENT AND CONSENT

 

 

LENDER: _ NOTE/LOAN AMOUNT:
ADDRESS: ISSUE DATE:

 

 

 

 

NOTE SERIES:

 

The undersigned Lender hereby acknowledges that:

. Lender has received acopy of that certain Master Credit Agreement dated April 30, 1998 (the
"Master Credit Agreement") by and among E.S. Bankest LLC, a Florida corporation with its
principal business address at 999 Brickell Avenue, Penthouse, Miami, Florida, USA 33131
(herein "Borrower"); and BANK ESPIRITO SANTO INTERNATIONAL, LTD., a Ca:
Islands corporation, as Collateral Agent (“Collateral Agent”). .

® Lender has received a copy of that certain Security Agreement dated April 30, 1998 by and
between Borrower and Collateral Agent.

. Lender acknowledges and understands that each promissory note issued by. Borrower under
- the Master Credit Agreement, including the Promissory Note issued to Lender shall be treated
pari passu with all other Promissory Notes issued by Borrower and all such Promissory Notes
shall be secured by collateral equally and ratably according to the principal amount thereof
and the interest from time to time owing thereon, regardless of the Issue Date or interest

” terms of each separate Promissory Notes

¢ Lender acknowledges and agrees that as a condition to the extension of credit to Borrower
under the Master Credit Agreement and the issuance of a Promissory Note“te Lender,
Borrower and the other lenders under the Master ‘Credit Agreement require that Lender
appoint Bank Espirito Santo International, Ltd. as the Collateral Agent to administer the
Security Interests for the benefit of all lenders pursuant to all of the terms and conditions of
the Loan Documents.

 

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NOW THEREFORE, Lender agrees as follows:

By execution and delivery of this Joinder, Appointment of Collateral Agent and Consent
Lender hereby:

1. Joins in the execution and agrees to the terms of the Master Credit Agreement and each
and every other Loan or Credit Document relating to the Loan (as defined in the Master
Credit Agreement);

2. Appoints the Collateral Agent to act as its agent in connection with the Loan and the
Collateral thereof and acknowledges that Collateral Agent shall act as agent for all of the
Lenders under the Master Credit Agreement with respect to the administration of the
Collateral for the Loan; and

3. Expressly consents to Collateral Agent entering into the Master Credit Agreement and all
other loan documents related thereto.

IN WITNESS WHEREOF, Lender has executed this Joinder, Appointment of Collateral
Agent and Consent this day of ’

 

 

 

Witness Lender

 

Witness

 

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EXHIBIT V.

SAMPLE FORM OF ACKNOWLEDGMENT
' OF RECEIPT OF MEMORANDUM

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E.S. BANKEST LLC

ACKNOWLEDGMENT OF RECEIPT OF
CONFIDENTIAL MEMORANDUM
Series A and Series B Notes

The offering described in the Confidential Memorandum of E.S. Bankest LLC, a Florida
corporation (the "Company’), dated July 1, 2001 (the "Memorandum"), has not been registered with the
United States Securities and Exchange Commission, the Florida Division of Securities or any other state
securities division or agency and is offered pursuant to exemptions and a safe harbor from the registration
requirements of the United States Securities Act of 1933, as amended, applicable mules promulgated
thereunder, and exemptions from the registration requirements of any applicable state securities laws.

I UNDERSTAND THAT THE MEMORANDUM IS FOR MY USE OR THAT OF MY ADVISORS
OR DESIGNATED PURCHASER REPRESENTATIVES ONLY.

1. I hereby represent that:

(a) Ihave received the Memorandum; we
(b) _I will use the Memorandum only for my own purposes and I will not reproduce, duplicate,
or distribute the Memorandum except to my designated advisors or purchaser representative, if any.

2. If I decide to participate in the Loan to E.S. Bankest LLC through the purchase Notes described
in the Memorandum, I will also complete and execute the Subscription Agreement in the form appended
to the Memorandum.

EXECUTION OF THIS DOCUMENT DOES NOT INDICATE AN INTENT FINALLY TO LEND
MONIES AND RECEIVE THE NOTES DESCRIBED IN THE MEMORANDUM. _ THIS
DOCUMENT MAY NOT BE EXECUTED IN THE UNITED STATES OF AMERICA OR ANY OF
ITS TERRITORIES, POSSESSIONS OR AREAS SUBJECT TO ITS JURISDICTION.

 

 

 

 

 

(Name) PLEASE PRINT (Signature)
. . Date: ,

Executed in:

City and Country

Home Tel#(__)(_ es _)
(Street Address)

Office Tel. #(__) ( )
(City) (Country)

 

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SAMPLE FORM OF SUBSCRIPTION AGREEMENT

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ee ee

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E.S. BANKEST LLC .

SUBSCRIPTION AGREEMENT

 

Confidential Memorandum # 2001-1]

 

Name of Subscriber
(please type or print)

To: | Management of E.S. Bankest LLC

The undersigned ("Subscriber") hereby tenders this Subscription Agreement and hereby applies
for the purchase, in the amounts and Series shown below, of Notes ("Notes"), of E.S. Bankest LLC
("Company"), a Florida Corporation, with the understanding that the purchase is subject to acceptance by
the Management of the Company as described in the Confidential Memorandum of the Company dated
July 1, 2001 (the "Memorandum"). Terms used in the Memorandum shall have the same meaning when
used herein.

Subscriber hereby warrants and represents that Subscriber, as well as Subscriber's Purchaser
Representatives, if any, have had access to all relevant information and documents they desired, including
all records and books pertaining to the Company and this subscription, all of which have been made
available to Subscriber, as Subscriber's Purchaser Representatives, if any, and Subscriber's accountants,
attorneys, business advisors and tax advisors, and all of which will be available, upon reasonable notices,
for inspection.

Subscriber hereby acknowledges that Subscriber, as well as Subscriber's Purchaser
Representatives and other professional advisors, if any, are in receipt of the copy of the Memorandum with
the number set forth above and represent that they have read, are familiar with and fully understand the
Memorandum, including all familiar with and fully understand the Memorandum, including all documents
referred to inthe Memorandum. Subscriber represents that, after careful review of the Memorandum and
the documents referred to therein, Subscriber is aware of the risks involved in an investment in the
’ Company.

Subscriber hereby agrees that if this Subscription Agreement is accepted by the Management of
. the Company in accordance with the provisions of the Memorandum), Subscriber shall become a
Noteholder of the Company. Subscriber shall pay to the Company the funds enclosed herewith for the
Notes purchased and otherwise be bound by the terms of this Subscription Agreement.

Subscriber is enclosing herewith a check or has wire transferred funds according to the instructions
stated on page 2 of the Subscription Instructions Section of this Subscription Documents booklet, in the
amount of $ payable to "E.S. Bankest LLC" This constitutes the purchase price of
the Notes of the Company should this subscription be accepted.

 

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In order to allow Management of the Company to determine, in accordance with any criteria
established by the Company, whether or not to accept this Subscription Agreement, Subscriber hereby
represents and warrants to the Company and the Management of the Company as follows:

(1) Subscriber has acknowledged receipt of the Memorandum.
(2) Subscriber represents that:

(i) 0 Subscriber is a Foreign Person/Non-Resident Alien Individual,
, not United Sates citizen nor resident.

( — Subscriber has executed and provided the Company a
Department of Treasury; Internal Revenue Service Form W-8
"Certificate of Foreign Status.”

0 Subscriber is a Foreign Corporation, Partnership, Estate or Trust,
not a United States Corporation, Partnership, Estate or Trust.

0 Subscriber has executed and provided the Company a
Department of Treasury; Internal Revenue Service Form W-8
"Certificate of Foreign Status.”

(id Subscriber is an "Accredited Investor” because (check which items
apply):

Oo Subscriber is a director or executive officer of the company.

0 Subscriberis a natural person whose combined net worth with his
or her spouse currently exceeds $1,000,000 and will exceed
$1,000,000 at the time of the purchase of Notes.

oO Subscriber is a natural person whose income exceeded $200,000
in each of the last two years and reasonably expects that his or her
income will exceed $200,000 in the current year.

oO Subscriber is a natural person whose individual income exceeded
$200,000 in each of the last two years or joint income with his or
her spouse exceeded $300,000 in each of those years and
reasonably expects to reach the same income levels in the current
year.

oO Subscriber is a trust with total assets in excess of $5,000,000, not
formed for the specific purpose of acquiring the Notes offered in
the Memorandum, whose purchase is being directed by the
individual described in the Purchaser Representative

 

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Questionnaire attached hereto and by this reference made a part
hereof.

Subscriber is a corporation, not formed for the specific purpose
of acquiring the Notes offered in the Memorandum, with total
assets in excess of $5,000,000.

Subscriber is a partnership, not formed for the specific purpose
of acquiring the Notes offered in the Memorandum, with total
assets in excess of $5,000,000.

Subscriber is a bank as defined in Section 3(a)(2) of the
Securities Act.

Subscriber is a savings and Joan association or similar institution
as defined in Section 3(a)(5)(A) of the Securities Act.

Subscriber is an insurance company as defined in Section 2(33)
of the Securities Act.

Subscriber is an investment company registered under the
Investment Company Act of 1940.

Subscriber is a business development company as defined under
(2}(a)(48) of the Investment Company Act of 1940.

Subscriber is a small business development company licensed by
the U.S. Small Business Administration under Section 301(c) or
(d) of the Small Business Investment Act of 1958.

Subscriber is an employee benefit plan within the meaning of
Title I of the Employee Retirement Income Security Act of 1974,
if the decision to purchase Notes is made by a plan fiduciary, as
defined in Section 3(21) of such Act, which is either a bank,
insurance company, or registered investment advisor, or if the
employee benefit plan has total assets in excess of $5,000,009, or,
ifa self directed plan, with investment decisions made solely by
persons that are accredited investors.

 

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o Subscriber is a plan established and maintained by a state, its
political subdivision or any agency or instrumentality of a state or
its political subdivisions, for the benefit of the employees ofsuch
plan having total assets in excess of $5,000,000.

oO Subscriber is a private business development company as defined
in Section 202(a)(22) of the Investment Advisors Act of 1940.

oO Subscriber is an organization described in Section 501(c)(3) of
the Internal Revenue Code of 1986, as amended, not formed for
the specific purpose of acquiring the Notes offered hereby, with
total assets in excess of $5,000,000.

0 Subscriber is a broker or dealer registered pursuant to Section 15
of the Securities Exchange Act of 1934, as amended.

oO Subscriber is an entity in which all of the equity owners meet one
of the requirements of the above items.

(3) Subscriber isa resident of, or has its principal place of business in, the country set
forth on the signature page hereof and, if a natural person, is at least twenty-one
(21) years ofage. Subscriber has no present intention of becoming a resident or
domiciliary of, or moving its principal place of business to any other jurisdiction.

(4) Subscriber has been advised that: (a) the securities being offered as described in
the Memorandum are, by their terms, not transferable; (b) the Notes are being
__ offered are "restricted securities", as such term is defined in Rule 144 of the
Securities and Exchange Commission, and have not been registered under any
state or other jurisdiction's securities laws, including the Securities Act of 1933,
as amended (collectively, the "Securities Laws”), and must be held indefinitely
unless they are subsequently registered under applicable Securities Laws and/or
an exemption from registration under the applicable Securities Laws is available
to the Subscriber; (b) Subscriber has no right to require the Notes to be registered’
under any of the applicable Securities Laws; and it is not contemplated that the
securities will ever be registered under any applicable Securities Laws, nor is it
contemplated that the securities will ever be saleable under Rule 144 of the
Securities and Exchange Commission; and (d) any sales of the securities by the
Subscriber must be made in reliance upon any of the very limited exemptions (if
any exemption is available) from registration generally available under applicable
Securities Laws. Further, Subscriber is aware, notwithstanding the foregoing, that
" sales or other transfers are subject to the terms and conditions contained in this
Agreement, including but not limited to, compliance with all applicable Securities
Laws.

(5) The Subscriber understands that (a) the Notes may not be offered, sold,
transferred, accepted or delivered, directly or indirectly, in the United States (or
any of its territories, possessions or areas subject to its jurisdiction) or to U.S.
Persons; (b) the Subscriber must qualify as an “accredited investor" and must

 

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(6)

(7)

8)

otherwise meet the qualifications contained in the Memorandum and this
Subscription Agreement; (c) all offers and sales of Notes must be conducted
pursuant to "offshore transactions” and without any “directed selling efforts” by
any person in the United States (as such terms are defined in Regulation S under
the United States Securities Act of 1933, as amended (the "Securities Act").
Subscriber represents and warrants to the Company that (a) Subscriber was not
solicited to purchase the Notes while present in the United States nor did the
Subscriber receive the Memorandum (including the exhibits and annexes thereto),
this Subscription Agreement nor any other offering material with respect to the
Notes in the United States; and (b) Subscriber is executing this Subscription
Agreement outside of the United States and did not otherwise acquire the Notes
in the United States.

The Subscriber is not (a) (i) a natural person resident in the Untied States; (ii) a
partnership, corporation or other entity organized or incorporated under the laws
of the United States; (iii) an estate of which an executor or administrator is a U.S.
person; (iv) a trust of which any trustee is a U.S. person; (v) an agency or branch
of a foreign entity located in the United States; (vi) a non-discretionary account or
similar account (other than an estate or trust) held by a dealer or other fiduciary
for the benefit or account of a U.S. person; (vii) a discretionary account or similar
account (other than an estate or trust) held by a dealer or other fiduciary
organized, incorporated, or (ifan individual) resident in the United States; or (viii)
a partnership or corporation (A) organized or incorporated under the laws of any
foreign jurisdiction and (B) formed by a U.S. person principally for the purpose
of (1) investing in the Company or (2) investing in securities not registered under
the Securities Act; and (b) is not acquiring the Notes or any interest therein for the
account or benefit of any U.S. Person described in paragraph 6(a), above (and
Subscriber agrees to notify the Company immediately if the Subscriber should at
any time become a U.S. Person);

To the best knowledge of the Subscriber, neither the subscription hereby made nor
the purchase of the Notes hereunder by the Subscriber will violate any non-U.S.

securities law of any jurisdiction to which such Subscriber may be subject.

The Subscriber will not sell or transfer directly or indirectly any of the Subscriber's
Notes (or any participation or beneficial interest therein) to a U.S. Person referred
to in paragraph 6(a) above or to any other person or entity (a) except as
specifically permitted by the Memorandum and this Subscription Agreement, and
(b) provided that (i) the proposed transferee has made representations and
warranties similar to those contained herein; and (ii) Subscriber either registers the
proposed transfer under the Securities Act and the applicable state and non-U.S.
securities laws or furnishes the Company with an opinion or opinions of legal
counsel(s) experienced in matters of U.S. securities laws and the securities laws
of other applicable jurisdictions (which securities counsel(s) shall be satisfactory -
to the Company and its legal counsel(s)) confirming that the proposed transfer (x)
is exempt from the registration requirements of the Securities Act, any state
securities laws and any non-U.S. securities laws, citing to the section of each such
act upon which the exemption is based, and (y) will not otherwise violate any such

 

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securities laws. Any attempted transfer without complying with the above
requirements shall be null and void, and the Company shall refuse to register,
confirm or recognize any such transfer.

The Subscriber will not transfer directly or indirectly any of the Subscriber's Notes
(or any participation or beneficial interest therein) except in accordance with the
provisions of Regulation S under the Securities Act, pursuant toregistration under
the Securities Act and applicable State securities laws and any non-US. securities
laws, or pursuant to an available exemption from the registration provisions of the
Securities Act and applicable State securities laws and non-U.S. securities laws.
Subscribers are advised that they are subject to the same restrictions on offers and
sales of Notes that apply under Regulation S to any “distributor” of such
securities, as such term is defined in Regulation S.

The Notes for which Subscriber hereby tenders this Subscription will be acquired
solely for the account of Subscriber and are not being purchased with a view to
or for resale in connection. with any distribution within the meaning of the
Securities Act, or the securities laws of any state or other jurisdiction. Subscriber
represents that Subscriber has no agreement, understanding, commitment, or other

arrangement with any person and has no present intention to sell, transfer or assign

his or her Notes or any part or portion thereof.

Subscriber acknowledges that the attention of Subscriber and that of his or her
purchaser representatives and other professional advisors, if any, has been
specifically called to, and they have read and understand the Memorandum, and
particularly the sections entitled "Description of Notes” and "Risk Factors” in the
Memorandum and they are aware of the contents therein and consequences

thereof.

Subscriber can bear the economic risk of the investment in the Notes without
impairing his ability to provide for Subscriber and/or Subscriber's family in the
same manner as Subscriber would have been able to provide prior to making this
investment in the Notes.

The Notes have not been registered pursuant to the Florida Securities and Investor
Protection Act or any other State securities laws.

Subscriber has not relied upon any information or documents provided by
Management of the Company to any Subscriber prior to delivery of the
Memorandum as a basis for entering into this Subscription Agreement, since prior
preliminary documents did not accurately and completely describe this Offering.
Each Subscriber is aware of his unrestricted right to not enter into this
Subscription Agreement and to receive back, without penalty or forfeiture of any
kind, any sums previously paid or given to Management of the Company as an
indication of interest, or otherwise, in connection with the offering of the Notes.

Subscriber hereby agrees that the representations and warranties set forth in this
Subscription Agreement shall survive the acceptance hereof by the Management
of the Company.

 

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(16) At Management's request, Subscriber agrees to promptly execute such other
instruments or documents as may be reasonably required by it in connection with
the purchase of the Notes or any other matter contained in this Subscription
Agreement and to promptly provide all personal and financial information which
the Company may deem necessary or appropriate to submit to regulatory
authorities.

(17) Subscriber hereby acknowledges that the acceptance of this Subscription
Agreement and the issuance of any securities of the Company is made expressly:
(i) subject to approval by applicable regulatory authorities; and (ii) on the
condition that the Subscriber meets the Accredited Investor Standards described
in the Memorandum and paragraph (2) hereof and on the condition that the
Subscriber is not a U.S. Person, as described in the Memorandum and paragraph
6(a) hereof. If (i) in the opinion of Management, the ownership of securities
issued by the Company by the Subscriber may cause the failure, refusal or denial
of any required or necessary approval for a course of conduct approved by the
Board of Directors; or (ii) the Subscriber fails to meet the Accredited Investor
Standards described in the Memorandum and paragraph (2) hereof or the
Subscriber is deemed to be a U.S. Person, as described in the Memorandum and
paragraph (2) hereof; then, at the Company's option, the Subscription Agreement
may be canceled and rescinded and (a) all or part of the Notes held by the
Subscriber may be repurchased, at any time within six months from the date of
acceptance of the Subscription, by the Company at the principal amount of each
Note without further notice to Subscriber.

(18) Subscriber agrees to all other terms and conditions of this investment as disclosed
in the Memorandum.

The Subscriber hereby acknowledges and agrees that Subscriber is not entitled to cancel, terminate
or revoke this Subscription Agreement, or any agreements of the Subscriber contained herein or the power
of attorney granted hereby.

This Subscription Agreement shall be governed in accordance with the laws of the State of Florida,
United States of America, and shall bind and inure to the benefit of the parties hereto, their respective heirs,
executors, administrators, legal representatives, successors and assigns.

- This Subscription Agreement, together with the Agreement, contains the entire agreement between
the parties hereto. The provisions of this Subscription Agreement may not be modified or waived except
in writing.

 

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Set forth below are the number of Notes being subscribed for and the total payment to the

 

Company made hereby:

SERIES A NOTES (185 Day Maturity)

X$ =$
No. of
NOTES

SERIES B NOTES (365 Day Maturity)
X$ =$§

No. of

NOTES

SERIES C NOTES (90 Day Maturity)
X$ =$

No. of
NOTES

 

IN WITNESS WHEREOF, the undersigned has executed this Subscription Agreement this
_ day of ; .

 

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(FOR NON UNITED STATES NATURAL PERSON)

WITNESSES:

 

 

 

Signature

 

Signature (required for Joint Tenancy)

(FOR NON-UNITED STATES CORPORATION, PARTNERSHIP OR TRUST)

WITNESSES:

 

 

Name of Subscriber:

 

 

By:
Name:
Title:

Executed in: Aone

 

City and Country

(NOTE: THIS SUBSCRIPTION AGREEMENT MAY NOT BE EXECUTED IN THE UNITED
STATES OF AMERICA OR ANY OF ITS TERRITORIES, POSSESSIONS OR AREAS SUBJECT

TO ITS JURISDICTION)

TITLE TO BE TAKEN (check one):

 

 

(Name as it should appear on the Note --
two names for Joint Tenants)

 

Principal Place of Residency
or Principal Place of Business

Individual Ownership

Joint Tenants with Right of Survivorship
Corporation
Partnership

Trust ~

ooU0lUmOlUlCU

Other:

 

 

(Registration and Mailing Address)

 

(Telephone Number)

 

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This Subscription Agreement has been accepted by the Management of the Company this
day of ,

 

E.S. BANKEST LLC

By:

 

Authorized Officer

 

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EXHIBIT VII.

. SAMPLE FORM OF PURCHASER
REPRESENTATIVE QUESTIONNAIRE

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CONFIDENTIAL CONFIDENTIAL

 

E.S. BANKEST LLC

PURCHASER REPRESENTATIVE QUESTIONNAIRE

To: Management of E.S. Bankest LLC (the "Company")

The information contained herein is being furnished to you to enable you to determine whether the
undersigned may act as a Purchaser Representative, as such term is used in Rule 501 promulgated under
the Securities Act of 1933, as amended (the "Securities Act"), in connection with the proposed offer and
sale of Notes by the Company, each Notes consisting of fully registered Notes in the principal amount of
$100,000 designated as either Series A or Series B, as described in a Confidential Memorandum dated
July 1, 2001, of E.S. Bankest LLC, a Florida corporation.

; I understand that (i) you will rely upon the information contained herein for purposes of such

determination, and (ii) the interests will not be registered under the Securities Act in reliance upon, a safe
harbor from the registration requirements of the Securities Act for offers and sales of securities which
occur outside of the United States and among other exemptions, the exemptions from registration provided
in Section 4(2) or other Sections of the Securities Act and Rules promulgated thereunder. J represent to
you that (i) the information contained herein is complete and accurate and may be relied upon by you and
(ii) I will notify you immediately of any material change in any of such information occurring prior to the
closing of the purchase of any of the Shares.

All information furnished is for use only by you, and your counsel, and will be held in confidence,
except that the Questionnaire may be furnished to such parties as you deem desirable to establish with
federal or state securities laws.

Name of Purchaser: . .

‘PLEASE PRINT OR TYPE

 

Name of Purchaser Representative:

 

Address:

 

 

City: State: Zip: Phone:

Business
Address:

 

Occupation:

 

 

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1. Occupation or position:

 

2. Field of professional specialization, if any:

 

3. Years in Practice:

 

4. Business or professional education, including any degrees received:

 

 

 

5. Have you had prior experience in advising clients with respect to investments of this type?
Yes No .

 

6. List any professional licenses or registrations you hold, including bar admissions,
accounting certifications, real estate brokerage licenses and SEC or State broker/dealer registrations:

 

 

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7. If you are an accountant or an attomey, please describe generally any business, financial
or investment experience that would help you to evaluate the merits and risks of this investment:

 

 

8. How long you have known the Purchaser and in what capacity?
9. | Doyou orany of your associates or affiliates have any relationship with the Company, its
Management or any of their affiliates? Yes No

 

If yes, please describe, including amount of any compensation received or to be received as a result
of such relationship:

 

 

The undersigned Purchaser Representative understands that the Company will be relying on the -
accuracy and completeness of my responses to the foregoing questions and represents and warrants to the
Company as follows:

(a) I am acting as Purchaser Representative for the Purchaser in connection with the
Purchaser's prospective investment in the NOTES;

(6) Tam familiar with, understand and am in full compliance with all my obligations under
Rules 501 and 506 promulgated under the Act;

(c) The answers to the above questions are complete and correct and may be relied upon by
the Company and its Management in determining whether the offering in connection with which I have

 

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" executed this questionnaire is exempt from registration under the Securities Act and any other applicable
state securities laws;

(d) . I willnotify the Company immediately of any material change in any statement made herein
occurring prior to the closing of any purchase by the Purchaser of an interest in the Company,

(ce). have disclosed to the Purchaser in writing prior to the Purchaser's appointment of me as
his Purchaser Representative, any relationship which I may have or which is mutually contemplated with
the Company, the Management, and their respective associates and affiliates disclosed in answer to
question 9 above; and

( Ihave such knowledge and experience in financial and business matters that ] am capable
of evaluating the merits and risks of the Purchaser's prospective investment in the Notes and I have in fact
made such an evaluation and communicated the results of the same to the Purchaser.

__ INWITNESS WHEREOF, Ihave executed this Purchaser Representative Questionnaire this
day of ; :

tom

 

 

(Signature of Purchaser Representative)

 

 

(Print name of witness) (Date)

 

 

(Signature of Purchaser)

 

 

(Print name of witness) . (Date)

 

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EXHIBIT VII,

SAMPLE SUBSCRIPTION INSTRUCTIONS

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MEMORANDUM NO.2002-1

E.S. BANKEST LLC
(a Florida Corporation)

USS 175,000,000.00

-- Series A Notes:
Six (6) Month London Inter-Bank Offered Rate (“LIBOR”)
plus One and One-Half Percent (1.5%), per annum* 185-Day Maturity Notes
Series B Notes:
Twelve (12) Month London Inter-Bank Offered Rate (“LIBOR”)}

plus One and Three-Quarters Percent (1.75%), per annum** 365-Day Maturity Notes
Series C Notes:

mn Three (3) Month London Inter-Bank Offered Rate (*“LIBOR”),

, plus One and One-Half Percent (1.5%), per annum*** 90-Day Maturity Notes

Bank Espirito Santo International, Ltd., Cayman Istands, BWI (Collateral Agent)

Minimum Purchase- 1 Note ($ 100,000)

Stated Interest Rates: Series A Notes: Six (6) Month London Inter-Bank Offered Rate (*LIBOR™) plus One and One-Half Percent (1.5%)

_ _ perannum* 185-Day Maturity Notes. Series B Notes: Twelve (12) Month London Inter-Bank Offered Rate (“LIBOR”) plus One and
Three-Quarters Percent (1.75%), perannum** 365-Day Maturity Notes. Series C Notes: Three (3) Month London Int-r-Bank Offered Rate
{“LIBOR”) plas Onc and One-Half Percent (1.5%) per anuum™** 90-Day Maturity Notes. —

 

SUBSCRIPTION INSTRUCTIONS

 

In order to subscribe to purchase Notes from E.S. Bankest LLC (the "Company"), a prospective
lender must complete and execute the Subscription documents referred to below in accordance with the
instructions set forth beginning on the next page. The subscription documents, together with the
appropriate payment, should then be delivered to the Company's present address at 999 Brickell Avenue,
Miami, Florida 33131. Subscriptions must be received by the Company not later than June 30, 2002.
The Company may terminate the Offering at any time in its sole discretion.

The subscription documents are a supplement to the Confidential Memorandum ofthe Company,
dated January 1, 2002 (the "Memorandum"), relating to the private offering of Notes of the Company.
Although copies of subscription documents are an integral part of the Memorandum, for your purposes
and for purposes of complying with these Subscription Procedures, all subscription documents that are
to be executed are printed on green safety paper. NO PERSON IS AUTHORIZED TO RECEIVE THE
MEMORANDUM UNLESS SUCH PERSON HAS PREVIOUSLY RECEIVED, OR
"SIMULTANEOUSLY RECEIVES, A COPY OF THE MEMORANDUM BEARING ON ITS COVER
PAGE THE NUMBER SET FORTH ON THE COVER PAGE OF THIS SUBSCRIPTION
DOCUMENT. Delivery of the Memorandum to anyone other than the person named on page A of this
-- Subscription Document and the Memorandum is unauthorized, and any reproduction or circulation of
the Memorandum, in whole or in part, is prohibited, except for delivery by the named offeree to the
attorney, accountant, other professional advisor of Purchaser Representative, if any, of the named
offeree.

 

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In order to subscribe for Notes, you must complete, execute and deliver the subscription
documents accompanying the Memorandum in accordance with the instructions set forth below, together
with the appropriate payment (as described below), to the Company. Please be sure that your name
appears in exactly the same manner in each signature and in each place where it is inserted in the

- documents.

Subscriptions from suitable shareholders and prospective investors will be accepted, subject to
approval by the Company, after receipt of the subscription documents (properly completed and executed)
with the appropriate payment. All subscriptions must be received not later than June 30, 2002.

ITEM

PAYMENT

SUBSCRIPTION ~
AGREEMENT

PURCHASER
REPRESENTATIVE
QUESTIONNAIRE

TAX CERTIFICATION

MATTERS TO THE
ATTENTION OF THE
COMPANY:

INSTRUCTIONS

Subscription payment(s) are payable in United States dollars via (i) check
or (ii) bank to bank wire transfer of funds. Payments by check should be
made payable to the order of the Company, as follows: E.S. Bankest LLC
Subscription payments made by bank-to-bank wire transfer of funds
should be sent as follows: |

Espirito Santo Bank

ABA NUMBER 0660-0902-9

For the Credit of E.S. Bankest LLC
ACCOUNT NUMBER 106 140 606

Complete, sign and date the original of the Subscription Agreement.
See Note | below if two or more individuals jointly purchase Notes.
Signatures must be witnessed. .

If a prospective purchaser is relying on the advice of @ Purchaser
Representative to evaluate the merits and risks of an investment in the
Notes, the Purchaser Representative must complete (including insertion
of the name of the prospective investor at the top of page 1), and the
prospective purchaser must acknowledge the Purchaser Representative ©
Questionnaire.

Complete, sign and date either IRS Form W-8 (Certificate of Foreign
Status). NOTE: These Notes are being offered solely to non-United
States investors.

Subscriber must forward to the Company

(i) An original of the completed Subscription Agreement.
(ii) Check(s) in payment of the Note subscribed for; or

 

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Gii) | Bank to bank wire transfer of US funds in payment of the
Note(s) subscribed for.

(iv) Completed originals IRS Form W-8 (certificate of Foreign
Status)

Note 1:

If two or more individuals jointly subscribe to purchase Notes, each individuals must sign the
Subscription Agreements.

@ If the individuals are husband and wife, only one spouse need complete the Subscription
Agreements. The name, age, and social security number of the other spouse should be
indicated in the Subscription Agreements. Both spouses must sign the Subscription
Agreements.

(ii) Ifthe individuals are not married, each individual must separately complete and sign two
Subscription Agreements.

 

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SUBSCRIPTION INSTRUCTIONS AND AUTHORIZATION TO COMPANY

_E.S. Bankest LLC

999 Brickell Avenue
Penthouse

Miami, Florida 33131
United States of America

Re: , (Subscriber) Confidential Memorandum # 2002-I

Please consider this form my/our instructions to and authorization
of you, as follows:

Safekeeping of Note Certificate(s):

‘O Forward Note Certificate(s) to the Address indicated in my/our Subscription Agreement,

Oo Forward Note Certificate(s) to:

 

O Retain my Note Certificate(s) until further notice.

Payment of Note Interest:

 

O Issue checks in payment of Interest, mailing same to address _ indicated in my/our Subscription
Document.

Oo Issue checks in payment of Interest, mailing same to:

O Wire funds as per the following instructions:

 

 

Repayment of Note(s) Principal Amount: .

QO Issue checks in payment of Principal, mailing same to address indicated in my/our Subscription
Document. ‘ co,
a Issue checks in payment of Principal, mailing same
to:

 

O - Wire funds as per the following instructions:

 

FOR SUBSCRIBER:

 

Signature
Name:__
Title:
Date:

 

 

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EXHIBIT IX

Audited - Financial Statements of the Company dated December 31, 2000 and 2001

£S0256511
ME Cooperation... Collaboration... Concentration... Communication Accountants ard Consultants

 

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E. S. Bankest L.L.C.

 

 

Financial Statements
For the years ended December 31, 2001 and 2000

JBDO,

BOO Seidman. LLP

 

 

 

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E. S. Bankest L.L.C.

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Financial Statements
For the years ended December 314, 2001 and 2000

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Miarni. Florida 33131-2105
Telephone; (305) 381-8000
Fax: (305} 374-1135 .

BDO Seidman, LLP International Place
Accountants and Consultants 100 S.E. Ind Street. Suite 2200
a
a,

Independent Auditors’ Report

Board of Directors
E.S. Bankest L.L.C.

We have audited the accompanying balance sheets of E.S. Bankest L.L.C., as of December
31, 2001 and 2000, and the related statements of operations, members’ equity and cash
flows for the years ended December 31, 2001 and 2000. These financial statements are the
responsibility of the Company's management. Our responsibility is to express an opinion
on these financial statements based on our audits. ,

We conducted our audits in sccordance with auditing standards generally accepted in the
United States of America. Those standards require that we plan and perform the audit to
obtain reasonable assurance about whether the financial statements are free of material
misstatement, An audit includes examining, on a test basis, evidence supporting the
amounts and disclosures in the financial statements. An audit also includes assessing the
accounting principles used and significant estimates made by management, as well as
evaluating the overall financial statement presentation. We believe that our audits provide
a reasonable basis for our opinion.

In our opinion, the financial statements referred to above present fairly, in all material
respects, the financial position of E.S. Bankest L.L.C. as of December 31, 2001 and 2000
and the results of its operations and its cash flows for the years ended December 31, 2001
and 2000 in conformity with accounting principles generally accepted in the United States

BDO MeDrrces? ger

Miami, Florida Certified Public Accountants
February 8, 2002

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favkeack Cooperation, Collaboration, Concentration, Communication

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E. S. Bankest L.L.C.

Balance Sheets

 

December 31, 2001 2000
Assets ,
_ Cash and cash equivalents (Note 2) s 873,781 S$ 1,742,845
- Accounts receivable ($178,103,308 in 2001 net of amount due to

clients of $21,051,658 less allowance for doubtful accounts of

$3,442,319 and $119,809,895 in 2000 net of amount due to

clients of $16,166,296 less allowance for doubtful accounts of .

$477,686) 153,609,331 103,165,913

(Notes 1, 2 and 3) ,
Due from affiliates (Note 3) 8,001,069 2,599,425
Prepaid expenses 137,500 109,375
Debs issuance costs net of accumulated amortization of

$601,041 and $397,789 in 2001 and 2000, respectively 325,489 146,176
Furniture and equipment, net of accumulated depreciation

of $21,504 and $17,326 in 2001 and 2000, respectively 6,221 10,369
Other assets : 49,545 48,744

 

Liabilities

S 163,002,936

$ 107,822,847

 

 

 

Promissory notes (Note 2) § 137,501,917 S 87,050,000

Line of credit (Note 3) 3,000,000 _ 1,000,000

- Accrued interest payable 1,859,239 1,696,613

- Accounts payable and accrued liabilities "103,870 97,285

Uneamed factoring fees 1,393,158 1,770,338

~ Income tax payable 243,843 243,843

Total liabilities 144,102,027 91,858,079
_Commitments and Contingencies (Notes 1 and 4)

Members’ Equity

Initial capitalization 3,000,000 3,000,000

Retained earnings 15,900,909 12,964,768

Total members’ equity 18,900,909 15,964,768

 

$ 163,002,936

S 107,822,847

See accompanying summary of accounting policies and notes to financial statements.

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_E. S. Bankest L.L.C. |

Statements of Operations

Pe

 

 

 

 

For the years ended December 31, 2001 2000
Revenues:
Interest and fee income § 22,571,675 $ 16,356,060
Expenses: ,
Interest 7,878,609 5,368,517
General and administrative 3,356,419 2,736,393
Commissions (Note 3) 1,045,794 627,719
Professional fees 304,708 189,203
Provision for credit losses 3,056,004 390,003
Total expenses 15,635,534 9,311,835
Net income § 6,936,141 S$ 7,044,225

 

See accompanying summary of accounting policies and notes to financial statements.

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E. S. Bankest L.L.C.

. | Statements of Members' Equity

 

 

- Total
Initial Retained Members*

Capitalization Earnings Equity

Balance at December 31, 1999 $ 3,000,000 $ 5,920,533 $ 8,920,543

Net income - 7,044,225 7,044,225

Balance at December 31, 2000 3,000,000 12,964,768 . 15,964,768

Distributions to members (4,000,000) (4,000,000)

Net income . - 6,936,141 6,936.14

 

Balance at December 31, 2001 . $ 3,000,000 $ 15,900.909 $ 18,900,909

See accompanying summary of accounting policies and nutes to Jfinencial statements.

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E.S. Bankest L.L.C.

_ Statements of Cash Flows

Sn

 

_ For the years ended December 31, 2001 2000
Operating Activities:
Net income . S 6,936,141 S$ 7,044,225
~ Adjustments to reconcile net income to net cash ,
provided by operating activities:
Depreciation , 4,178 6,415
Provision for doubtful accounts 3,050,004 390,003

—- Amortization of debt issuance costs 117,852 112,197
Changes in operating assets and liabilities: . ,
(Increase) in:

 

 

 

 

 

 

 

we Due from affiliates _: (5,401,644) (2,443,997)
Prepaid expenses “ (28,125) (38,125)
Other assets (801) (27,252)
Increase (decrease) in:
- Accounts payable and accrued expenses 6,585 66,904
Accrued interest payable 162,625 802,259
Uneamed factoring fees (377,180) 990,559
Net cash provided by operating activities 4,469,635 6,903,168
-- Investing Activities: ,
Accounts receivable (53,408,051) (44,812,673)
Capital expenditures - (852)
"Net cash used in investing activities . (53,408,051) (44,813,525) .
Financing Activities: - .
Proceeds from issuance of promissory notes . 98,451,917 54,350,000
- Repayment of promissory notes . (48,000,000) (18,850,000)
Net proceeds from line of credit 2,000,000 1,000,000
Debt issuance costs (382,565) - (238,480)
-- Distributions to members’ (4,000,000) :
Net cash provided by financing activities , 48,069,352 36,261,520
~. Net (decrease) in cash and cash equivaleats (869,064) (1,648,837)
Cash and cash equivatents at beginning of period 1,742,845 3,391,682
Cash and cash equivalents at end of period $ 873,781 S$ 1,742,845

 

Supplemental disclosure of cash Now information:
. Cash paid during the peciod for interest $s 1,715,983 $ 4,566,260

See accompanying summary of accounting policies and notes to financial statements.

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Organization

E. S. Bankest L.L.C.

Summary of Significant Accounting Policies

E. S. Bankest Corp. (“The Company’’) was organized on March
18, 1998 under the laws of the State of Florida. The Company was
established for the purpose of engaging in the operation of a non-
regulated commercial factoring business, principally by acquiring
from Bankest Capital Corp. (BCC) and Bankest Receivables
Finance and Factoring Corp. (BRFFC), a joint owner and wholly-
owned subsidiary of BCC, respectively, a portion of accounts
receivable acquired by BCC and BRFFC pursuant to their
factoring businesses. ;

As part of transactions incident to the formation of the Company,
the Company entered into an Accounts Receivable Purchase and
Tri-Party Agreement (the “AR Purchase Agreement”) with BCC
and BRFFC, pursuant to which the Company has agreed to
purchase certain assets from BCC and BRFFC. Those assets
include various accounts receivable acquired by BCC and BRFFC

. pursuant to their factoring and finance business. The Company

also agreed to acquire certain rights, and assume certain
obligations, under various factoring agreements presently existing
between BCC and/or BRFFC and their respective clients. The
Company uses the proceeds derived from the issuance of
promissory notes to finance the purchase of the foregoing assets
and to fund the purchase of additional insured accounts receivable
and to make advances in the operation of its commercial factoring
business.

On October 26, 1998, the Company’s stockholders agreed to
merge the Company. with and into Lacroze, LLC (a Florida
Limited Liability Company) the surviving company change its
name to E.S. Bankest LLC (Florida Limited Liability Company).
This surviving entity succeeded to all of the rights, privileges,
immunities and franchises and all of the property of E.S. Bankest
Corp. and is responsible and liable for all of E.S. Bankest Corp.
liabilities and obligations.

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Accounts
Receivable
Purchased and
Concentration of
Credit Risk

- Cash and Cash
Equivalents

Income
Recognition

E. S. Bankest L.L.C.

Summary of Significant Accounting Policies

Accounts receivable purchased principally originate from small to
medium sized companies in the South Florida geographic area.
The Company generally withholds payment on a specified
percentage of the purchased receivables and obtains credit
insurance to reduce its credit risk. If third parties fail to honor
their obligations under the purchased receivable, the Company's
loss is reduced by any withheld payments and credit insurance.
The Company performs ongoing credit evaluations of its
significant customers. ;

Among the accounts receivable purchased from BCC are those
originated by BCC’s major client, a manufacturer of consumer
goods. At December 31, 2001 and 2000, this major client's
concentration approximated 35% and 42% of the receivables”
purchased (Note 1). ,

The Company purchases accounts receivable with recourse, except
as to credit risk. The Company’s accounts receivable are insured
against credit losses pursuant to its Credit Insurance Policy with
Euler American Credit Indemnity Company. Insurance coverage
aggregated $125 million as of December 31, 2001. The policy
expires on March 31, 2002.

The allowance for credit losses is maintained at a level deemed
adequate by management to absorb losses in the portfolio after
evaluating the portfolio, current economic conditions, insurance
coverage, changes in the nature and the volume of the portfolio,
past loss experience and other pertinent factors. Many of these
factors involve a significant d¢gree of estimation and are subject to
rapid change which may be unforeseen by management. It is
reasonably possible that changes in these factors could result in
material adjustments to the allowance in the near term.

The Company considers investments with original maturities of
three months or less at the time of purchase to be cash equivalents.
At times, cash balances in the Company’s account may exceed
federally insured limits.

Interest income on advances and other amounts owed to the
Company is calculated using the simple interest method on the
daily balances of principal outstanding and is recorded as earned in
accordance with the terms of the related factoring agreements with
clients. Factoring fees are recognized over the period that the
Company renders the related services.

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E.S. Bankest L.L.C.

Summary of Significant Accounting Policies

-- Furniture and Furniture and equipment are recorded at cost. Depreciation is
Equipment calculated on the straight-line basis over the estimated useful lives
of the assets. (3-5 years). o

Income Taxes Effective upon the October 26, 1998 merger into Lacroze, LLC,
the Company’s operations are taxable directly to the members and
accordingly, no provision for income taxes is included in the
accompanying financial statements for periods subsequent to
October 25, 1998.

_. '. Use of Estimates The preparation of the financial statements in conformity with
in the Preparation generally accepted accounting principles requires management to
of Financial make estimates and assumptions that affect the reported amounts
of assets and liabilities and disclosure of contingent assets and
Statements liabilities at the date of the financial statements and the reported

amounts of revenues and expenses during the reporting period.

Actual results could differ from those estimates.

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E. S. Bankest L.L.C.

Notes to Financial Statements

 

 

 

1. Accounts Accounts receivable consists of the following:
Receivable ,

2001 2000

Accounts receivable $ 178,103,308 § 119,809,895
Allowance (3,442,319) (477,686)
174,660,989 119,332,209 -
Due to clients (21,051,658) (16,165,296)

Net accounts receivable . $ 153,609,331 $ 103,165,913

 

At December 31, 2001 approximately $5.3 million of purchased
accounts receivable are due from K-Mart Corp. K-Mart Corp.
filed for bankruptcy protection under Chapter 11] subsequent to
December 31, 2001. Said $5.3 million of K-Mart Corp.’s accounts
receivable being insured against credit losses, including
bankruptcy.

One of the Company's clients, United Container, LLP filed for
bankruptcy protection under Chapter 11 in December 2001. On
the advice of the Company’s bankmuptcy counsel, the Company
sought and succeeded to convert the Chapter 11 toa Chapter 7. At. —

‘December 31, 2001 such purchased accounts receivables
agercgated approximately $17 million.

The Company is of the opinion that they own the purchased
accounts receivable, and therefore have legally perfected the
security interest in such purchased accounts receivable due from
K-Mart and customers of United Container, LLP. Interest and fee
income attributable to the purchased receivables of K-Mart Corp.
and the customers of United Container, LLP aggregated
approximately $1,931,000 in 2001.

A purchased account receivable is considered impaired when,
based on current information and events, it is probable the

Company will be unable to collect the amounts due from account
debtors.

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Promissory
Notes

E. S. Bankest L.L.C.

Notes to Financial Statements

As of December 31, 2001, the Company’s recorded investment in
purchased accounts receivable which were impaired amounted to
approximately $7.8 million. Said $7.8 million being comprised of
the aforementioned $5.3 million credit-insured accounts receivable
due from-K-Mart Corp. and approximately $2.55 million of
accounts receivable due from customers of United Container, LLP.
Whereas the Company anticipates collections of $5.3 million K-
Mart Corp. accounts receivable from either K-Mart Corp. or the
credit insurer, EULER American Credit Indemnity Company, it
has effected an allowance for doubtful accounts aggregated
approximately $3.4 million. Said $3.4 million comprised of the
aforementioned $2.55 million accounts receivable due from
customers of United Container, LLP, $500,000 for the deductible
portion of the insured K-Mart Corp. account receivables and a
$350,000 general reserve for doubtful accounts. No purchased
accounts receivable were impaired at or during the year ended
December 31, 2000.

Activity in the allowance for losses was as follows:

 

 

Year ended December 31, 2001 2000
Balance, beginning s 471,686 $ 142,555
Provision for doubtful accounts 3,050,004 390,003
Charee-offs. net 7 (85.371) (54,872)
Balance, ending S 3,442,319 $ 477,686

 

Factored Accounts Receivable-Backed Promissory Notes (the
Notes), were issued through private placements resulting in
proceeds to the Company of $98,451,917 and $54,350,000 in 2001
and 2000, respectively. The Notes are collateralized by (i)
accounts receivable owned by the Company (ii) an assignment of
the proceeds of a credit insurance policy (tli) reserve balances in
the factoring accounts (iv) cash and cash equivalents.

The Series A Notes ($77,550,000 and $45,850,000 at December
31, 2001 and 2000) accrue interest based on the six month London
Inter-Bank Offered Rate plus 1.5% (3.5% and 7.62% at December
31, 2001 and 2000) and mature through June 20, 2002.

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E. S. Bankest L.L.C.

Notes to Financial Statements

The Series B Notes ($59,950,000 and $41,200,000 at December
31, 2001 and 2000) accrue interest based on the twelve month
London Inter-Bank Offered Rate plus 1.75% (4.19% and 7.64% at

December 31, 2001 and 2000) and mature through December 19,
2002. ce

Under the terms of the Notes, the Company is obligated to comply
with certain covenants. These covenants provide that during any
period during which there exists an outstanding principal amount _
under the Notes, the outstanding balance of accounts receivable
and pledged to the collateral agent and lenders under the security
agreement will be not less than 120% of the principal amount of all
Notes outstanding minus cash deposits and securities pledged. At
‘December 31, 2001, the Company was in compliance with this
covenant. -

Depending on the Company's rate of growth, the Company may in
the future require proceeds from new debt, borrowings or sale of
the Company's securities to obtain additional capital. Although the
Company believes that it can raise additional capital and have
profitable operations in the ensuing year, there can be no assurance
that the Company will be able to maintain profitability or obtain
additional capital when needed.

3. Related Party At December 31, 2001, the Company has a credit facility from
Transactions Buncu Espirito Santo & Commercial de Lisboa, which provides for
a demand revolving line of credit with maximum borrowings of
$3,000,000. Outstanding amounts under this facility bear interest
equal to the six month LIBOR rate in effect on the first date of the
month in which a borrowing occurs plus 1.50% (3.50% at
December 31, 2001). At December 31, 2001, $3,000,000 was
outstanding under this facility. Under the terms of the agreement,
the Company is required to maintain credit insurance against any
loss arising from the insolvency of any party appearing as debtor
in any receivable purchased by the Company. Also, the Company
is required to maintain a ratio of total liabilities to total tangible net
worth not greater than 12:1. At December 31, 2001, the Company
was in compliance with these covenants.

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E. S. Bankest L.L.C.

Notes to Financial Statements

At December 31, 2001 and 2000, $8,001,069 and $2,599,425 and
at January 31, 2002 $4,0005,707 was due from Bankest Capital
Corp. for cash received by Bankest Capital Corp. relating to
receivables held by the Company. .

Approximately $48 million of the promissory notes are payable to
an entity, in which a senior executive is a member of the
Company’s Board of Directors.

The Company is required to pay 1% commission of the principal
amount for the promissory notes placed by one of the Company's
members. At December 31, 2001 and 2000 commission expense
amounted to $1,045,794 and $627,719, respectively.

An officer of the Company is a member of the board of managers
of a limited liability company, from which the Company has
purchased $3.2 million in accounts receivable in 2001.

4. Commitments The Company rents office space under non-cancelable leases
expiring October 31, 2002. The minimum future rental
commitment for leases in effect at December 31, 2001,

approximates the following:

 

 

Year ending December 31, Amount
2002 S 120,500
| S$ 120,500

 

Rent expense in 2001 and 2000 aggregated approximately
$149,000 and $131,000, respectively. Upon expiration of the
lease, the Company intends to continue to lease its premises on a
month-to-month basis until such time as its new long-term
leasehold space is available.

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E. S. Bankest L.L.C.

Notes to Financial Statements

5.

Fair Value of
Financial
Instruments

Disclosure of fair value of financial instruments is required by
SFAS No. 107, "Disclosures About Fair Value of Financial
Instruments.". The Company's financial instruments consist
principally of cash and cash equivalents, accounts receivable and
promissory notes payable. The carrying amounts of such financial
instruments as reflected in the balance sheets approximate their
estimated fair value as of December 31, 200! and 2000. The
estimated fair value is not necessarily indicative of the amounts the
Company could realize in a current market exchange.

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IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP, AND BDO INTERNATIONAL B.V.,
Defendants.

BDO SEIDMAN, LLP,

Third-Party Plaintiff,

vs.

VICTOR BALESTRA, BERNARD MOLLET, JOAQUIM GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINITCK PARLAPIANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSTANT,

Third-Party Defendants.

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VOLUME 16

MORNING SESSION
Miami, Florida
Friday, January 26, 2007
9:35 a.m.

Before the Honorable Jose M. Rodriguez

Reported by: Gizella "Gigi" Baan

   

 

 
   
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2 (Pages 1777 to 1780)

 

 

 

 

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:

1 APPEARANCES 1 On behalf of Defendant BDO International B.V., n/k/a BDO fF

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Page 1778 Page 1780

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20 Nikki Simon, Esquire 20 Geoffrey Marks, Esquire
21 21 Marisol Gomez, Esquire
22 22 i
23 23
24 24 :
25 25 i

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3 (Pages 1781 to 1784)

 

  
  
 
   
 
    
 
   
  
   
   
   
  
 
    
 
 
   
 
  
 
 
 
  

 

 

Page 1781 Page 1783
1 CONTENTS 1 The Court shall give counsel an opportunity to object to
2 2 such questions outside the presence of this jury. The
3. EXAMINATION OF LEWIS B. FREEMAN BY: PAGE: 3 Court may properly limit the submissions of questions to
4 MR. THOMAS: (Direct) 1810 4 witnesses.
5 MR. SCHNAPP: (Voir dire) 1861 5 That's what the law is. It's not
6 MR. RAYMOND: (Voir dire) 1865 6 discretionary with me. I knew that, too, but I tried to
7 MR. THOMAS: (Voir dire) 1866 7 find case on that. It actually gave me the discretion
8 8 to do that. So if -- it can come up in several ways.
9 9 It can come up now before the jury comes out. Then
10 10 Mr. Baker can ask questions. If they ask, can we ask
11 11° questions, I'll have to say yes. Then I will to have to
12 12 go through the proceeding.
13 13 MR. COLE: Does it deal only with witnesses
14 14 or lawyers as well?
15 15 THE COURT: Only witnesses. They can't ask
16 16 lawyers questions. :
17 17 MR. COLE: And if I understand, if there's
18 18 an objection --.
19 19 THE COURT: That's the procedure we're going
20 20 to use if they insist. If they ask, can we ask
21 21 questions. The procedure is they have to submit them in
22 22 writing to the Court. The Court will take the
23 23 questions. The Court will read the questions. I'l
24 24 — dismiss them for that period, and I will then take up
25 25 the questions with you. Obviously, the questions have
Page 1782 Page 1784
1 PROCEEDINGS 1 to be comport with the evidence code, hearsay, et
2 THE COURT: Good morning, everyone. I'm 2 cetera, et cetera, et cetera, the whole gambit. And you
3 sure you have a lot to say this morning. 3 get check it. Once the questions gets to be asked, the
4 Is there anything we need to address before 4 other side can object on the issue.
5 we bring in the jury? 5 MR. COLE: And the jury doesn't know who
6 MR. DORTA: Yes, Your Honor. Good morning. 6 objects?
7 May it please the Court. Gonzalo Dorta on behalf of the 7 THE COURT: Absolutely not. And I will ask
8 Plaintiff. The issue raised yesterday that Your Honor0. 8 the questions unless you want to ask the question.
9 THE COURT: Jury questions. 9 Questions that are actually allowable to ask if the
10 MR. DORTA: Yes. 10 objection is overruled. Most of them will probably
11 THE COURT: I just need Mr. -- what's his 11 be -- will not comport with the evidence code, but we'll
12 name? -- Mr. Baker wanted to ask a question in opening 12 have to wait.
13 statement. It’s not proper to ask questions of the 13 MR. DORTA: We still have the pending issue.
14 lawyers. They're not allowed to ask questions but will 14 ‘Your Honor is right. Watson and the statute in question
15 when the proper time comes. Unfortunately, ladies and 15 presupposes that we started a case in chief and there's
16 — gentlemen, if they insist, if they ask to ask questions, 16 a witness on the stand. What happened yesterday was it
17 _ the statute says I have to allow them -- I shall allow 17 — was opening statement. Statute doesn't apply to opening
18 them. 18 — statement. And if a juror raises his hand for a
19 MR. COLE: You shall allow them? 19 question, the law prior to the statute governs the
20 THE COURT: I knew that but I needed to -- I 20 procedure.
21 needed to get the supporting documentation for it so I 21 And the law says that it is much more
22 ~~ did. 22 appropriate that this Court ask that juror to put in a
23 The statute says 40.50. It says the Court 23 piece of paper in a note the question he wanted to ask.
24 — shall prevent jurors to submit in Court written 24 And you should read it to the attorneys because that
25 25

 

 

 

questions directed to the witnesses or to the Court.

question could reflect a preconceived opinion or

 
    
   
   
    
   
   
   
  
   
     
    
  
    
  
   
   
   

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16 (Pages 1833 to 1836)
Page 1833 Page 1835
1 Q. Mr. Freeman -- 1 Q. And what was Mr. Parlapiano's role at
2 THE COURT: Take your time. 2  Bankest Capital?
3. BY MR. THOMAS: 3 A. He was the chief financial officer and ran
4 Q. Mr. Freeman, you were the receiver for E.S. 4 the day-to-day.
5 Bankest; is that correct? 5 Q. Now, Mr. Freeman, you had reached for E.S.
6 A. Yes. 6  Bankest. Mr. Freeman, how did E.S. Bankest become
7 Q. Mr. Freeman, were you the court-appointed 7 involved in this transaction?
8 receiver for E.S. Bankest? 8 A. Okay.
9 A. Yes. 9 MR. RAYMOND: Objection. 604, 702, 701,
10 MR. SCHNAPP: Objection. Asked and 10 ‘hearsay.
11 answered. 11 MR. SCHNAPP: I adopt those.
12 THE COURT: Overruled. 12 THE COURT: Sustained. Rephrase the
13. BY MR. THOMAS: 13 question.
14 Q. Mr. Freeman, as the court-appointed receiver 14 BY MR. THOMAS:
15 for E.S. Bankest, in our example, how would E.S. Bankest § 15 Q. Mr. Freeman, once the example as you were
16 become involved in this transaction? 16 phrasing it to us, that the $10,000 IOU was owed from
17 MR. RAYMOND: Objection. 17 Wal-Mart now to Capital. What did Capital do in that
18 THE COURT: Overruled. 18 transaction?
19 BY MR. THOMAS: 19 MR. RAYMOND: Same objections, Judge.
20 Q. You may answer. 20 THE COURT: Sustained. Rephrase the
21 A. Going back to Joy sells the T-shirts 21° question.
22 February 1. Wal-Mart promises to pay July 1. Joy. And §22 BY LEFT:
23 _ let's assume we sold $10,000 dollars worth of T-shirts. 23 Q. Mr. Freeman, what happened next in your
24 Joy, for whatever reasons they have -- 24 example, based on your work as the court-appointed
25 MR. SCHNAPP: Your Honor, I object. It's 25 receiver of E.S. Bankest, when an IOU was owed from
Page 1834 Page 1836
1 the same objection as before. That he’s lecturing to 1 Wal-Mart to Joy and it was assigned to Capital? What
2 the jury. 2 did Capital do with that IOU?
3 THE COURT: Overruled. That's part of the 3 MR. RAYMOND: Objection, Your Honor.
4 answer. Overruled. 4 THE COURT: Overruled.
5 THE WITNESS: Joy has its own bills to pay. 5 THE WITNESS: Well, as I said earlier,
6 ‘T-shirts, employees, rent, just like any other business. 6 everything is about the money. Joy wanted to get paid.
7 And they sent them in February so they were already 7 They had to wait. They took $8,000 instead of waiting a
8 paid. Everything was done. And Joy says, we need 8 couple months for $10,000. So instead of Wal-Mart
9 money. Joy found Bankest Capital and said, we're owed 9 paying up to Joy, Wal-Mart was going to pay to here, to
10 $10,000 on July Ist. What we're going to do is say to 10 pay Bankest. Bankest -- I'm sorry -- Bankest Capital.
11 you, we're going to assign that right to you for the 11 Bankest Capital got their money from Bankest which they
12 $10,000 on July Ist if you give us $8,000 today. 12 were half owners of.
13. BY MR. THOMAS: 13 So the $10,000 that was due on July 1
14 Q. Mr. Freeman, who owned Bankest Capital? 14 went -- instead of Capital was supposed to go right down
15 A. Okay. Bankest Capital -- 15 to Bankest on the July 1 date. It was just assigning
16 Q. I'msorry. 16 where the money was going. And since they gave the
17 A. Oh, Bankest Capital? 17 money to them to get.the money up there, that's how it
18 Q. I'msorry. Because I got confused. Let me 18 ~~ worked.
19 rephrase. 19 BY MR. THOMAS:
20 Mr. Freeman, Bankest Capital, who owned and 20 Q. And, Mr. Freeman, where did Bankest get the
21 controlled Bankest Capital? 21 money that it sent to Bankest Capital?
22 A. The Orlansky brothers. 22 A. Okay. Bankest got the money from Espirito
23 Q. And, Mr. Freeman, do you understand whether 23 Santo's bank.
24 Mr. Parlapiano had a role at Bankest Capital? 24 Q. You have a little board here?
25 A. Yes. 25

 

 

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A. Okay. (Indicating.) They went out and got

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Page 3321
IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT

IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

---- ee eee ee x
BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP, AND BDO INTERNATIONAL B.V.,
Defendants.

BDO SEIDMAN, LLP,

Third-Party Plaintiff,

vs.

VICTOR BALESTRA, BERNARD MOLLET, JOAQUIM GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPIANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANI,

Third-Party Defendants.

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VOLUME 29

AFTERNOON SESSION
Miami, Florida
Tuesday, February 6, 2007

2:00 p.m.

Before the Honorable Jose M. Rodriguez

Reported by: Gizella "Gigi" Baan

  

 

 

 

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2 (Pages 3322 to 3325)

 

 

  

 

 

Page 3322 Page 3324
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Page 3323 . Page 3325 &
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3 (Pages 3326 to 3329)
Page 3326 Page 3328
1 CONTENTS 1 and an unaudited financial statement?
2 2 A. An audited financial statement would have
3 EXAMINATION OF KEITH ELLENBURG BY: PAGE: 3 attached to it the opinion of a firm of independent
4 MS. BITAR: (Cross) 3327, 3374 4 certified public accountants that it had performed an
5 MR. THOMAS: (Redirect) 3320 5 audit in conformity with generally accepted auditing
6 6 standards and expressed an opinion as to whether the
7 EXAMINATION OF CARLOS MENDEZ BY: PAGE: 7 financial statements were fairly stated in accordance
8 MR. DORTA: (Direct) 3415 8 with generally accepted accounting principles.
9 9 An unaudited statement, for example, could
10 10 _ be an internal financial statement prepared by a
11 il company.
12 12 Q. Okay. And why does BDO need to approve
13 13 before it will permit -- I'm sorry, to approve financial
14 14 statements before it will permit its opinion to be used
15 15 in connection with a securities offering?
16 16 A. Imall cases where the auditor's opinion is
17 17 attached to another document which contains other
18 18 information such as a securities offering, both
19 19 generally accepted auditing standards as well as BDO
20 20  Seidman's firm policies call for the auditor to review
21 21 that other document and give its approval or consent for
22 22 attaching its audit opinion.
23 23 Q. Now, before lunch you testified that BDO,
24 24 after the fact, granted approval with respect to the use
25 25 of its 1995 opinion in connection with a private
Page 3327 Page 3329
1 PROCEEDINGS 1. placement, correct?
2 THE COURT: Ready? Bring them in. 2 A. Correct.
3 THE BAILIFF: (Complies.) 3 Q. And just to be clear, a private placement of
4 All rise for the jury. 4 debentures is the sale of a security, correct?
5 (Thereupon, the jury was brought into the 5 A. Itis.
6 courtroom.) 6 Q. When BDO granted that permission after the
7 THE COURT: Allright. Ladies and 7 fact, did that mean that BDO was giving permission to
8 gentlemen, let's go ahead and start. Ms. Bitar, you may 8 use its audited opinion in any subsequent offerings?
9 proceed with your cross-examination. 9 A. Absolutely not.
10 MS. BITAR: May I inquire, Your Honor? 10 Q. So there's no perspective permission that's
11 CROSS-EXAMINATION (continued) 11 being granted --
12. BY MS. BITAR: 12 A. No.
13 Q. Good afternoon, Mr. Ellenburg. 13 Q._ -- by virtue of what you talked about
14 A. Good afternoon. 14 earlier today?
15 Q. Before we broke for lunch we had an exhibit 15 A. Each and every time that the financials were
16  uponthescreen. I'd like to put it back up on the 16 utilized as an attachment to a document would require
17  sereen, please. Exhibit 66. 17 the approval of the accounting firm.
18 (Technician complies.) 18 Q. Thank you. Now let's go back to the
19 Mr. Ellenburg, I'd just like to walk you 19 document. It says, subsequent procedures performed by
20 through the document a little bit so you can discuss the 20 BDO. That's in the first -- right after the first
21 procedures that BDO employed when it learned after the [21 paragraph.
22 fact that its audit opinion was concluded in a 22 Do you have that in mind, sir?
23 _ private-placement memorandum. 23 A. Ido.
24 Let me first ask you this question. What is 24 Q. Going to Number 2 because I know Mr. Thomas
25 the difference between an audited financial statement 25 read Number 1 with you, it says, we compared the

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34 (Pages 3450 to 3453)
Page 3450 Page 3452
1 Santo would have invested or loaned over a hundred 1 A. Yes.
2 million dollars without audited financial statements? 2 Q. Did it come a point in time in the
3 MR. RAYMOND: Objection. 3 commencement of the audit of 1998 that Mr. Rivera asked
4 THE COURT: Sustained. Speculative. 4 documents of you, Carlos Mendez, concerning E.S.
5 MR. DORTA: F'll rephrase. 5 Bankest?
6 BY MR. DORTA: 6 A. Yes.
7 Q. What was the first audit year that BDO 7 Q. Was your understanding that this man needed
8 Seidman audited this newly created company E.S. Bankest? 8 those records to do his audit?
9 The first audit year? 9 MR. ALVAREZ; Objection as to his
10 A. It was in 1998 -- fiscal year-end 1998 which 10 understanding, calls to speculation.
11 _ is typically conducted at the beginning of the following 11 THE COURT: Sustained.
12 year, 1999, 12. BY MR. DORTA:
13 Q. You have to help me out here, Mr. Mendez. 13 Q. Were these records requested because an
14 When you do an audit of a particular audit, you need the 14 = audit was going?
15 year-end to do the audit? 15 MR. ALVAREZ: Objection.
16 A. That's correct. 16 MR. RAYMOND: Objection. Leading.
17 Q. Hence, that's why the andit for '98 starts 17 THE COURT: Overruled.
18 in January or February ‘99? 18 BY MR. DORTA:
19 A. That's correct. 19 Q. You can answer.
20 Q. Now, were you involved in the 1998 audit 20 A. Yes.
21 that started in January or February of 1999? 21 Q. Imean, he wasn't requesting records because
22 A. Yes. 22 he wanted to take it home and do leisure reading, did
23 Q. And this was an audit of E.S. Bankest? 23  ~=he?
24 A. Yes. 24 MR. RAYMOND: Objection. Argumentative.
25 Q. At this point in time had E.S. Bankest been 25 THE COURT: Sustained.
Page 3451 Page 3453
1 using PPMs, subscription agreements to raise money? 1 BY MR. DORTA:
2 A. Yes, 2 Q. He was doing an audit?
3 Q. And was E.S. Bankest selling notes and 3 A. Absolutely.
4 debentures to customers of Espirito Santo group? 4 Q. Of ES. Bankest, correct?
5 A. Yes. 5 A. Yes. He deemed those documents necessary to
6 Q. And to your knowledge, were the audited 6 complete his audit.
7 financial statements of BDO being used and given to 7 Q. Did you provide this man the records he was
8 Espirito Santo group and their customers? 8 requesting?
9 A. Yes. Absolutely. Yes. , 9 A. No.
10 Q. Now, let's talk about this first audit 10 Q. Do you recall what you told this auditor
11 year-end audited in 1998. Do you recall a man by the 11. when you did not provide the records he was asking for?
12 name of Ramon Rivera concerning the audit of 1998? 12 What did you tell Ramon Rivera?
13 A. Yes. 13 A. I referred him to Dominick Parlapiano.
14 Q. Was Ramon Rivera an employee of BDO? 14 Q. Why did you refer him to Dominick
15 A. Yes. 15 Parlapiano -- can't pronounce his name. How do you
16 Q. Was he an auditor of BDO? 16 _ pronounce his last name?
17 A. Yes. 17 A. Parlapiano.
18 Q. Do you know whether he was an audit manager 18 Q. Why would you refer him to Dominick
19 or somebody very low, like a staff person? 19 Parlapiano if the man is asking you for the records?
20 A. No. He was the manager of the audit. 20 MR. ALVAREZ: Objection. Irrelevant as to
21 Q. And did you deal with Ramon Rivera on the 21 why he would do that.
22 = audit of '98? 22 THE COURT: Overruled.
23 A. Yes. 23 THE WITNESS: Because we didn't have the
24 Q. Were you the person at E.S. Bankest that 24 records he was asking for and I honestly thought that
25 dealt with this man? 25 _ that's -- that was -- I mean, that was a very shocking

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35 (Pages 3454 to 3457)
Page 3454 Page 3456 #
1 situation to me. I thought that was going to be the end 1 both of you to give the man the records that he was
2 _ of definitely the audit. 2 requesting?
3 MR. ALVAREZ: Unresponsive. 3 A. No.
4 THE COURT: Hold on a second. Overruled. 4 Q. Did the man ever that day walk away with the
5 BY MR. DORTA: The end of what? What was ending when 5 records he was requesting, sir?
6 this man asked for records and you didn't give the man? 6 MR. RAYMOND: Objection. Leading.
7 What was ending? 7 THE COURT: Overruled.
8 A. Well, he was about to discover the fraud. 8 THE WITNESS: He walked away without the
9 Q. The what? 9 records. He stopped the audit.
10 A. The fraud that was going on. 10 BY MR. DORTA:
11 Q. How long has this fraud been going on when 11 Q. What then happened with respect to the audit
12 this man asked for records to detect the fraud? How 12 that Ramon Rivera stopped because he didn't get all the
13 long was the fraud going on, sir? 13 records? What happened next with this particular audit?
14 MR. RAYMOND: Objection. Leading. 14 A. The audit was resumed a few days after the
15 THE COURT: Overruled. 15 audit -- the field team left the office of Bankest and
16 MR. RAYMOND: Argumentative. 16 they came back a few days later to continue with the
17 THE COURT: Overruled. 17 audit.
18 THE WITNESS: Since 1995. 18 Q. When the audit was resumed, did you give
19 BYMR.DORTA: | 19 Ramon Rivera all the documents that he had initially
20 Q. Who was the auditor when the fraud commenced [—20 requested?
21 in 1995? 21 A. No. We didn't have the documents.
22 A. BDO Seidman. 22 Q. What do you mean you didn't have the
23 Q. Do you know, sir, whether or not Mr. Ramon 23 documents? What documents did this man initially
24 Rivera went and spoke to Dominick Parlapiano after you 24 request of you that you didn’t have?
25 told him to go speak to that man for the records? 25 A. He wanted to -- for purpose of one of their
Page 3455 Page 3457
1 THE COURT: Hold on. There's an objection. 1 tests, which is collectibility test, receivables
2 MR. ALVAREZ: Objection. Lack of personal 2 collectibility test, he wanted to trace the flow of
3 knowledge. 3 payment all the way from the customer, meaning Wal-Mart
4 THE COURT: Overruled. It's a yes-or-no 4 which owed Joy, the payment to Joy, from Joy into
5 question. 5 Bankest Capital, and from Bankest Capital to E.S.
6 THE WITNESS: Can you ask me -- 6 Bankest. He wanted proof that that flow took place from
7 THE COURT: Read it back, please. 7 the origin.
8 (Thereupon, the court reporter read back the 8 Q. And why couldn't you give them the check
9 requested portion.) : 9 from Wal-Mart paying Joy?
10 THE WITNESS: Yes. 10 A. Because there was no check from Wal-Mart to
11 MR. ALVAREZ: Judge, may Ihave atwo-second [11 Joy because the invoice that was in question that we're
12 _ side bar? 12 trying to test the collectibility, it was a fake
13 THE COURT: No. 13 invoice. In other words, Wal-Mart had no knowledge of
14 BY MR. DORTA: 14 that piece of business.
15 Q. Yes what? 15 Q. Did you ever fake a Wal-Mart check?
16 A. Yes, I do know that he went to speak to 16 A. Never.
17 Dominick Parlapiano. 17 Q. Do you have access to Wal-Mart's checkbook
18 Q. Do you know if Dominick Parlapiano gave 18 to fake a check?
19 Mr. Rivera the records that he requested of you? 19 A. No.
20 MR. ALVAREZ: Objection. Lack of personal 20 Q. Is that why you didn't fake it?
21 knowledge. 21 A. We couldn't fake a Wal-Mart check.
22 THE COURT: Overruled. 22 Q. And that was what Ramon was asking of you,
23 THE WITNESS: No. 23 those records?
24 BY MR. DORTA: 24 A. He wanted to see the Wal-Mart check. He
25 Q. Did Dominick ever come to you in order for 25 wanted to see a copy, rather, of a Wal-Mart check.

PO EE EAA LEN SEI ZEN IRM EDR PALER PRLS SIE AIEEE ILE ARE ECO STL RE SRA STEPS SSR CIOS AE LER LLNS SSO PIECE RSET NLD PONE SPEAR RRS FRE CRITE PELE 8 EOS ER PST ES NERS ST PS

 

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Page 3458 Page 34608
1 Q. Do you know under what procedures was this 1 customer checks, Wal-Mart and K-Mart, correct?
2 audit resumed? It's yes or no, and then you can 2 A. Right. They didn't need to see the Wal-Mart
3. explain. Do you know? : 3. check. They didn't need to see proof of payment from
4 A. Yes. 4 Joy to ES. Bankest.
5 Q. Okay. Tell the ladies and gentlemen of the 5 Q. When you say proof of payment, are you
6 jury when this audit restarts, under what procedure does 6 referring to like a deposit slip showing the Wal-Mart
7 it restart? 7 check being deposited by Joy? Is that what you mean?
8 A. The auditors or meaning BDO was satisfied 8 MR. ALVAREZ: Objection. Leading.
9 for purpose of completing this test with a copy of a 9 THE COURT: Sustained.
10 check from Joy to Bankest Capital and the payment from §—10 BY MR. DORTA:
11 Bankest Capital to E.S. Bankest. So in other words, it 11 Q. What do you mean by proof of payment into
12 was, I would say, half of the transaction. 12 Joy, that they didn't need to see that?
13 Q. When you say half of the transaction, what 13 A. Imean, a cancelled check from Joy that
14 do you mean by that? When they restart the audit, what 14 supposedly was deposited into Bankest Capital's bank
15 are they looking at when you say half of the 15 account, They didn't ask for the deposit slip that
16 _ transaction? 16 validated the deposit slip or copy of the validated
17 MR. RAYMOND: Objection. Calls for 17 — deposit slip that would correspond to that deposit.
18 speculation. 18 They didn't ask and they didn't get to see the Bankest
19 THE COURT: Overnuied. 19 Capital bank statement to vouch the deposit that Joy --
20 THE WITNESS: There was -- we were not 20 the Joy check deposited into Bankest Capital.
21 providing proof of payment coming from Wal-Mart for that 21 They only saw a copy from the front of a
22 particular invoice as it was represented in our numbers, 22 fake check of Joy issued to the order of Bankest Capital
23 inour books. And we're not providing payment from 23 Corp. And the Bankest Capital Corp. check -- copy of a
24 — Joy -- proof of payment from Joy to Bankest Capital. 24 — check -- I mean copy of a check from Capital Corp. to
25 BY MR. DORTA: 25  E.S. Bankest. And they could vouch the deposit because
Page 3459 Page 3461
1 Q. Let me stop you right there. Why weren't 1 they had bank statements for E.S. Bankest. So they
2 you providing payment from Joy to Bankest Capital? 2 could confirm that, in fact, there was -- they were
3 A. Because it didn't exist. We didn't have any 3 monies transferred from Capital to E.S. Bankest.
4 payments from Joy. We didn't have any payments from 4 Q. Now, when this audit was restarted with
5 Wal-Mart. We didn't have any payments from Joy. 5 those procedures in place, did you formulate an
6 Q. You may continue. 6 impression with respect to how the re-audit was going to
7 A. The only payment that we could show them, it 7 be done?
8 was Bankest Capital to E.S. Bankest. 8 MR. ALVAREZ: Objection.
9 Q. Let me stop you right there now. Bankest 9 THE COURT: I don't understand the question.
10 Capital is that company that's controlled by the 10 BY MR. DORTA:
11. Orlanskys? 11 Q. Allright. When the audit resumed, were you
12 A. Yes. 12 _ still the lead person?
13 Q. And what BDO was being satisfied with is a 13 A. Yes.
14 check from Capital to E.S. Bankest? 14 Q. When the audit resumed, were you made aware
15 A. Exactly. 15 __ how the audit was going to be conducted?
16 Q. Did you provide them real checks or fake 16 A. Yes.
17 checks of that transaction? 17 Q. When you were made aware how the audit was
18 A. I'msorry. Copy for two years? 18 going to be conducted, that certain things were not
19 Q. The check from Capital to E.S. Bankest, was 19 going to be asked for, how did you feel?
20 =‘ that a real check? 20 MR. ALVAREZ: Objection.
21 A. The Capital to E.S. Bankest, it was a real 21 THE COURT: Sustained. Feel is irrelevant.
22 check. The one that was not real, it was a fake check, 22  Rephrase your question.
23 _ it was a Joy check to Bankest Capital. 23 BY MR. DORTA:
24 Q. Allright. So BDO is -- starts re-auditing 24 Q. What was your view?
25 or resumes the ne ung and they don't need to see the 25 MR. ALVAREZ: tection. Calls for the same

  

 

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1 information in a different question. 1 THE WITNESS: Yes.

2 THE COURT: (Inaud.) 2 THE COURT: Be here before 9:30. Thank you
3. BY MR. DORTA: 3 very much. You're excused Mr. Mendez for today. :
4 Q. Your view as -- 4 (Thereupon the witness was excused from the
5 THE COURT: Sustained. Rephrase the 5 courtroom.)

6 question. 6 THE COURT: Mr. Alvarez, do you wish to say
7 BY MR. DORTA: 7 something to the Court? ;

8 Q. When the audit was redone -- strike that. 8 MR. ALVAREZ: No, Judge. I just want to :

9 When the audit was restarted with this 9 _ stare.
10 procedure, did you believe that the fraud would be 10 THE COURT: Are you sure? All right. :
11 uncovered? 11 Anything else we need to discuss before we go?
12 A. Well, not definitely at that point. 12 MR. ALVAREZ: I guess we can take up his two ;
13 THE COURT: Do you have an objection? 13 reactions. :
14 MR. ALVAREZ: Yes, Judge. 14 THE COURT: We don't know what they're going
15 THE COURT: Or are you just standing up? 15 tobe. I don't know what the questions are going to be, :
16 MR. ALVAREZ: No, Judge, I have an 16 so we'll see what the questions will be and then we'll '
17 objection. 17 go from there and then you can object. Or not. i
18 THE COURT: What's the legal basis? 18 Mr. Thomas.
19 MR. ALVAREZ: It calls for the information 19 MR. DORTA: Yes, Your Honor.
20 that I referred to in Court in my oral motion in limine. 20 THE COURT: These are yours.
21 THE COURT: Overruled. You may continue. 21 MR. DORTA: Thank you. :
22 MR. RAYMOND: Objection 403, Your Honor. 422 (Thereupon, at approximately 6:00 p.m., the
23 THE COURT: Overruled. 23 above portion of the trial was concluded.)
24 THE WITNESS: I -- I had a couple of 24 + # :
25 reactions. 25 :
Page 3463 Page 3465

1 THE COURT: Why don't we stop there with the 1 CERTIFICATE OF COURT REPORTER

2 couple of reactions (laughter) and we can go -- you can 2
3 gohome. I'm not going home but you can go home. 3 I, GIZELLA BAAN, court reporter, before whom
4 Ladies and gentlemen, we're sending you home. Do not 4 the foregoing statement was taken, do hereby certify
5 discuss the case amongst yourselves. Do not form a 5 that the statement made was taken by me stenographically [E
6 fixed or definite opinion about the merits of the case 6 at the time and place mentioned in the caption hereof

7 until you have heard all the evidence, the argument of 7 and thereafter transcribed by me to the best of my :

8 the lawyers, the instructions on the law by me. You're 8 ability; that said transcript is a true record of the /
9 not to read or listen to any accounts or see any 9 statement given; that I am neither counsel or, related i
10 accounts of this case in the media. And you're to 10 to, nor employed by any of the parties to the action in :
11 ignore all the lawyers outside this courtroom including 11 which these proceedings were taken; and further, that I
12 Mr. Mendez, who is on the witness stand. 12 am not a relative or employee of any party hereto, nor :
13 All right. You have a good night. See you 13 financially or otherwise interested in the outcome of
14 tomorrow moming, same place, same time. And we'll go $14 _ this action.
15 from there. Leave the notes, please. Thank you. 15 :
16 (Thereupon, the jury was escorted out of the 16
i7 courtroom.) 17 E
18 THE COURT: (Inaud.) for a second. 18 :
19 Mr. Mendez, I'm going to instruct you that you're not to 19 GIZELLA BAAN :
20 discuss the testimony you have given nor the testimony 20 Court Reporter and Notary Public :
21 you are going to give with any of the lawyers or anyone. 21 in and for the State of Florida E
22 Period. And that includes any personal lawyers you may §22 E
23 have. 23 :
24 THE WITNESS: Sure. 24 q
25 THE COURT: You understand? 25 :

 

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Page 3829

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP, AND BDO INTERNATIONAL B.V.,
Defendants.

BDO SEIDMAN, LLP,

Third-Party Plaintiff,

vs.

VICTOR BALESTRA, BERNARD MOLLET, JOAQUIM GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPTANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANI,

Third-Party Defendants.

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VOLUME 33

AFTERNOON SESSION
Miami, Florida
Thursday, February 8, 2007
1:50 p.m.

Before the Honorable Jose M. Rodriguez

Reported by: Gizella "Gigi" Baan

 

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2 (Pages 3830 to 3833)

 

 

 

 

Page 3830 Page 3832
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3 (Pages 3834 to 3837)

 

 

 

Page 3834 Page 3836 /
1 CONTENTS 1 A. Idon't remember. :
2 2 Q. You do know, as you sit here today, that the
3 EXAMINATION OF CARLOS MENDEZ BY: PAGE: 3 value of the home in Coral Gables when you purchased it ff
4 MR. RAYMOND: (Cross, cont'd) 3835 4 — for $520,000 in 2002 has appreciated, correct? :
5 MR. RAYMOND: (Voir dire) 3900 5 A. Yes. 4
6 MR. RAYMOND: (Cross, cont'd) 3907 6 Q. And what do you believe the house to be
7 MR. DORTA: (Redirect) 3928, 3946 7 worth today?
8 8 MR. DORTA: Objection. Clearly outside the
9 9 scope of direct and totally irrelevant.
10 10 THE COURT: Overnuled. 5.
11 11 THE WITNESS: Honestly, I don't know because :
12 12 there was a market increase which was pretty much
13 13 national increase, and now there is a drop, so I'm not :
14 14 in the real estate market. :
15 15 BYMR. RAYMOND: !
16 16 Q. Would you agree with me that you are aware 3
17 17 that your house is worth approximately $800,000 today?
18 18 A. Ihave no way to know because, again, I
19 19 haven't really kept up with the prices. t
20 20 Q. Well, you received from -- like any of us
21 21 who live in Dade County, we get a tax from Dade County |
22 22 Assessor every year, right? :
23 23 A. Right.
24 24 Q. And you get one too, don't you? ;
25 25 A. Certainly I do, sure.
Page 3835 Page 3837
1 PROCEEDINGS 1 Q. And it tells you on there what they believe ;
2 THE COURT: Ready? Bring him out. 2 the market value of your house is, correct? fe
3 THE BAILIFF: (Complies.) 3 A. The appraised value for purpose of property ff
4 All rise for the jury. 4 taxes. :
5 (Thereupon, the jury was brought into the 5 Q. There's two values on that form -- :
6 courtroom.) 6 MR. DORTA: Judge, he's referring to a '
7 THE COURT: All right. You may be seated. 7 document outside -- i
8 Are you all ready? 8 THE COURT: Sustained. :
9 THE JURY: We're ready. 9 BY MR.RAYMOND: :
10 THE COURT: Allright. Mr. Raymond, you may 10 Q. Sir --
11 proceed with your cross-examination. il MR. DORTA: And this is not a real estate él
12 MR. RAYMOND: Thank you, Judge. 12 case, Your Honor.
13 CROSS-EXAMINATION (continued) 13 THE COURT: I'm not going to let you go too
14 MR. RAYMOND: Good afternoon, ladies and 14 ~~ far. So make it relevant or move on.
15 gentlemen. 15 MR. RAYMOND: It's extremely relevant and I d
16 THE JURY: Good afternoon. 16 will tie it up.
17 BY MR. RAYMOND: 17. BY MR. RAYMOND: i
18 Q. Mr. Mendez, good afternoon. 18 Q. You agree, sir, that your house is worth :
19 A. Good afternoon. 19 — substantially more than what you paid for it, correct?
20 Q. We were talking about your home in Coral 20 A. lagree that it has increased in value and i
21 Gables. And we established that you purchased it for 21 it's worth more than what I paid for, yes. :
22 $520,000 in 2002, correct? 22 Q. You paid $520,000? Yes?
23 A. Yes. 23 A. Yes.
24 Q. And when you went for the refinancing, the 24 Q. And your mortgage is 231,000? i
25 25

 

house was appraised for more than $520,000, wasn't it?

 

A. Yes.

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4 (Pages 3838 to 3841)

 

 

 

Page 3838 Page 3840 &
1 . Q. Now, of course, the mortgage is a little bit 1 Q. Now, you've testified that as the vice
2 Jess than that because you've paid some of it off, 2 president and senior vice president of operations and
3 correct? , 3 finance that you were the point person for supplying
4 A. Probably 229. 4 documents to various persons that would ask for
5 Q. Would you agree for purposes of making the 5 documents, correct? Yes?
6 math easier the mortgage is certainly no more than 6 A. Yes.
7 $230,000? 7 Q. And as the point person interacting with,
8 A. It certainly is not. 8 for example, BDO Seidman auditors, did you ever work
9 Q. You agree? 9 with employees of BDO International?
10 A. Yes. 10 A. I don't know.
11 Q. The equity in your house is no less than 11 Q. To your knowledge as you sit here today,
12 $290,000, correct? 12 you've never worked with anybody from my client,
13 A. That's correct. 13 BDO International, correct?
14 Q. In fact, as a person with an MBA, you know 14 A. Ididn't say that.
15 _ that it's more than that, correct? 1s Q. You're not -- can you tell this jury anybody
16 A. Yeah -- yes. 16 from BDO International that you ever supplied documents
17 Q. The receiver hasn't sued you for the equity 17 ‘to?
18 in your home, has he? 18 A. Not that I know. I don't know the persons
19 MR. DORTA: Your Honor, objection. Side 19 that came to the field represented BDO whether they were
20 bar. Homestead is preempted by excuse. 20 BDO USA, BDO International.
21 THE COURT: You can redirect, sir. 21 Q. Let's be sure about this. They were from
22 Overruled. 22 ‘the BDO Seidman office in Miami, correct?
23. BY MR. RAYMOND: 23 A. Yes. Yes.
24 Q. Well, let's address that, sir. Are you 24 Q. And you're not aware of BDO International
25 aware that if property is bought with money obtained in § 25 having an office other than the office in Brussels,
Page 3839 Page 3841
1 accrime that that property is not subject to Homestead? 1 _ Belgium, correct?
2 Have you learned that, sir? 2 A. I'm not aware of where BDO International is.
3 A. I don't know about it but I don't think that 3 Q. Nobody presented a card to you at any time
4 property was purchased with -- I mean the loan is being 4 while you were at Bankest that said they were from BDO
5 paid -- began to be paid with, obviously, salary. 5 International, correct?
6 Q. That salary was money from a criminal 6 A. Not that I recall.
7 ~~ enterprise called Bankest, correct? 7 Q. And as the person dealing with documents
8 A. Yes. The salary was from Bankest, yes. 8 being produced, management also had interactions with
9 Q. And you've come to learn in connection with 9 BDO Seidman employees, correct?
10 your having been convicted of your crimes that your 10 A. Yes.
11 Homestead isn't protected because it was bought with 11 Q. And you were part of those meetings?
12 money from your crimes; isn't that true? 12 A. Yes.
13 MR. DORTA: Objection. Calls for a legal 13 Q. And you saw engagement letters?
14 conclusion. 14 A. Yes.
15 THE COURT: Sustained. 15 Q. And you saw what's called representation
16 BY MR. RAYMOND: 16 letters from Bankest to BDO Seidman?
17 Q. Has the receiver sued you, sir? 17 A. Yes.
18 A. No. No. He has not. 18 Q. And you've never seen an engagement letter
19 Q. Has Bankest sued you? 19 between Bankest and my client, BDO International, have
20 A. ES. Bankest? 20 you?
21 Q. Yes. 21 A. No, I've never seen.
22 A. No. 22 Q. And you've never seen a letter from
23 Q. How about Espirito Santo, have they sued 23 management of Bankest to BDO International making any
24 you? 24 representations, correct?
25 A. 25 A. Correct.

 

No, they have not.

 

RE RISERS ERT OS Ea ES RSE EEE EVES NEL PEPE SECIS B RE OES PY

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a SALONS ICSE RON ACSI SOCCER SET CAREC ES LSA cesar PAREN

PE RUA.A SSO DURA ESAS REIN

RESIN TEN TT EYRE ENTITIES SOLENT PT TT ESET DSTA
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5 (Pages 3842 to 3845)

 

 

 

Page 3842 Page 3844

1 Q. You've never seen any such communications? 1 Q. MR.DORTA: Judge, as they're getting it,
2 A. Correct. 2 can I have the same request granted to cross designate
3 Q. Just so the record is clear, correct? 3 his entire testimony concerning the Pricewaterhouse as
4 A. Correct. Let me just say something. 4 you permitted the defense to do on our right, please?
5 Other than for purpose of qualifying with 5 THE COURT: I don't know what he's going to
6 _ our partner and with the noteholders, the stature of the 6 ask, so he'll give you the page and number and you can
7 company, the fact that BDO is the fifth audit firm in 7 tell me.
8 the world, it was very redolent (ph.), and it was 8 MR. RAYMOND: The same page shown to the
9 expressed to the noteholders and to the bank. 9 witness yesterday, page 2557 from the criminal trial

10 Q. Now, let's talk about 10 that took place Day 19, May Ist, 2006.

11 PricewaterhouseCoopers. Are they, what, the first 11 May I approached the witness, Judge?

12 largest auditing firm in the world? 12 THE COURT: You may.

13 A. Possibly. If not the first, it's the 13 Don't come up. What's it going to do for

14 ~~ second. 14 his recollection?

15 Q. So they're much -- they're even bigger than 15 MR. RAYMOND: Yesterday --

16 BDO Seidman, right? 16 THE COURT: Stop, stop, stop.

17 A. They rank higher than BDO, yes. 17 MR. RAYMOND: He was shown this yesterday

18 Q. And you gave them fraudulent documents and 18 and he read it.

19 they didn't discover the fraud either, correct? 19 THE COURT: Let it refresh his recoflection.

20 A. Again, they didn't report to me. My 20 Don't read it out loud.

21 understanding is that they did not discover the fraud. 21 BY MR.RAYMOND:

22 Q. You would have known it? 22 Q. I'm at page 2557. Take a look, if you

23 A. Right. And they didn't audit. 23 would, please, at line 9 through 15, please.

24 Q. Well, sir, we don't have to bring your 24 A. Sure. (Reading.)

25 testimony from the criminal trial out again. When you 25 Q. Does that refresh your recollection that you

Page 3843 Page 3845

1 _-were at the criminal trial, you testified that it was an 1 were asked questions referring to the
2 ~~ audit. 2 PricewaterhouseCooper work as an audit and you responded
3 Do you remember when you reviewed that 3 that it was an audit?
4 testimony with Mr. Alvarez yesterday. You used the word 4 A. Okay.
5 audit during the criminal trial in referring to the work 5 Q. First, you have to tell everybody does that
6 performed by PricewaterhouseCoopers, correct? 6 _ refresh your recollection?
7 A. It was improperly used. 7 A. Yes. It does refresh my recollection.
8 Q. I'msorry? 8 Q. And you did use that word then and you
9 A. Jt was incorrectly used. 9 didn't offer any explanation then, did you?

10 Q. So the five times during the criminal trial 10 THE COURT: Is that a yes or no.

11. when you talked about the work performed by 11 THE WITNESS: No, I did not use that word

12  PricewaterhouseCoopers you were wrong five times to that $12 audit. Idid not. I used yes. And the question was

13 jury? 13 phrased and the BDO -- I mean the PWC work was labeled

14 A. I don't know if it was five times. I may 14 asan audit by the prosecutor. We were not discussing

15 have been questioned as Pricewaterhouse audit. We're 15 the scope of the work. He was referring as to the

16 _ now discussing the scope of the work as we may be 16 specific work that PWC was done and how we acted.

17 discussing it here. We were discussing it. What we 17 MR. RAYMOND: I'd like permission to publish

18 were discussing in trial was whether false information 18 his questions and answers to the jury.

19 was provided to PWC. 19 THE COURT: Any objections?

20 Q. Sir, yesterday, you saw -- you used the word 20 THE WITNESS: I'm not finished.

21 audit in referring to PricewaterhouseCoopers's work, 21 In this case I think it’s worth explaining

22 correct? 22 what an audit is and what PWC did. They didn't do an

23 A. Okay. 23 ~~ audit. It was not an audit.

24 Q. Yes or no? 24 MR. RAYMOND: Objection, Your Honor. It's

25 A. I don't know. I don't remember. 25 outside the scope of the question.

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Case 06-01220-AJC Doc 230-6 Filed 09/16/08 Page 58 of 74

6 (Pages 3846 to 3849)

 

 

 

Page 3846 Page 3848
1 THE COURT: He explained it. 1 Q. Now, at that time when they get the check,
2 Are there any objections? 2 there's nothing -- when you at Bankest get the check,
3 MR. DORTA: Publishing a testimony -- yes. 3 there's nothing on the back of the check, is there?
4 The answer is yes. There is an objection. To -- the 4 There's no --
5 _ basis of the objection that improper use of impeachment. 5 A. No.
6 Three, he hasn't -- 6 Q._ -- banking information?
7 THE COURT: That's enough. Sit down. 7 A. Absolutely.
8 Mr. Raymond. 8 Q. What happens is that, like all of us do, we
9 MR. RAYMOND: Yes, Your Honor. Pardon my 9 get a check, we deposit it, we have to endorse it, and
10 _ back fora moment. I'm highlighting it for Your 10 then it goes through the Federal Reserve system,
11 ~=©Honor -- 11 correct?
12 THE COURT: I remember it. 12 A. That's correct.
13 MR. RAYMOND: -- so you can see exactly why 13 Q. And you get like this example here, there's
14 it's relevant. 14 information printed on the back of the check, correct?
15 THE COURT: I remember the question and 15 A. Yes.
16 answer. I'm going to allow you to impeach the witness 16 Q. Now when Wal-Mart presents a check to
17  onthat. He gave his explanation, now you can impeach 17 _Bankest and Bankest deposits that check, when you make a
18 ~~ him. 18 copy of that check for your records, you don't copy the
19 BY MR. RAYMOND: 19 _ back of the check because there's no information on the
20 Q. You were under oath on May 1, 2006, were you 20 back of the check, correct?
21 not? 21 A. That is correct.
22 A. Yes. 22 Q. So if you left the impression with the jury
23 Q. At page 2557 at line 9 you were asked the 23 that when the auditors only got the front of the checks,
24 following question: Focusing on the PWC audit in 2002, 24 _ it's because there's nothing on the back to give them,
25 _ PricewaterhouseCoopers, remember your testimony 25 correct? They didn't need the back because there's
Page 3847 Page 3849
1 concerning that? Sir, do you remember that? i nothing there, correct?
2 ANSWER: Yes. 2 A. Yes, but I'd like to explain.
3 QUESTION: And just to refresh everybody's 3 Q. Well, let me ask you a couple more
4 recollection, that was the audit that took place after 4 questions.
5 the bank -- Espirito Santo bank, Florida, discovered the 5 THE COURT: No. Let him explain.
6 United Container fraud, correct? 6 MR. RAYMOND: There's no pending question,
7 ANSWER: Correct. 7 Your Honor.
8 Did you give that testimony and were you 8 THE COURT: He said, yes, but I'd like to
39 were asked those questions at that time? 9 explain.
10 A. Yes. Yes. Yes, I did. 10 MR. RAYMOND: There's nothing on the back of
11 Q. Thank you. 11 the check.
12 Do you recall being shown a check yesterday 12 THE COURT: He wants to explain it. He can
13 by Mr. Dorta? Do you recall him showing you a check? $13 — explain it.
14 Pulled the check out of his -- 14 THE WITNESS: Okay. You were referring
15 A. Oh, his -- 15 _ specifically about a Joy check?
16 Q._ -- his own personal check? 16 BY MR. RAYMOND:
17 A. Yes. 17 Q. No, we were talking about a Wal-Mart check,
18 Q. Well, I don't have his check but I have one 18 we're talking about. That's why --
19 of mine. 19 MR. DORTA: Judge --
20 A. I recall him presented a check, yes. 20 THE COURT: Mr. Dorta, have a seat.
21 Q. Now, when somebody writes a check, the check 21 BY MR.RAYMOND:
22 issent to whoever you're paying the money to. In the 22 Q. We were talking about a Wal-Mart check.
23 instance of Wal-Mart, Wal-Mart writes a check to 23 A. We were explaining -- we were talking about
24  Bankest. Bankest gets the check, correct? 24 the flow.
25 25

A. Yes.

 

 
  

THE COURT: No, he's talking about the

     

 

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7 (Pages 3850 to 3853)

 

 

 

Page 3850 Page 3852 ff
1 Wal-Mart check. 1 A. Yes, absolutely.
2 THE WITNESS: Okay. 2 Q. And if you wanted to, you could have taken
3 BY MR. RAYMOND: 3. the Wal-Mart check, the front of the check, and taken
4 Q. If the jury was left with the impression 4 that information off of there and made fake Wal-Mart
5 _ that the auditors only got the front of the check from 5 checks, correct?
6 the Wal-Mart check, and that they should have gotten the 6 A. Idon't know.
7 back, there was no need for them to get the back of the 7 Q. Well, you do know how to make fake checks,
8 check because there was nothing on the back, correct? 8 sir, you've done it. You could have done it for
9 A. No. That's -- we were talking specifically 9 Wal-Mart checks if you wanted to?
10 about the change of the request. The check that was 10 MR. DORTA: Objection.
11 provided with the front of the check -- 11 THE COURT: Sustained.
12 Q. We're talking about the Wal-Mart check. 12 THE WITNESS: I know how to order --
13 A. The Wal-Mart check went directly -- I mean 13 THE COURT: Stop. Sustained.
14 the real checks went directly from Wal-Mart to Bankest. 14 BY MR.RAYMOND:
15 Q. Right. 15 Q. Sir, you made fake checks for every company
16 A. And they were supposed to go all the time. 16 you wanted to make fake checks for, correct?
17 Q. And like anybody else, when a check comes to 17 A. No.
18 them, you get a check, I get a check, anyone in this 18 Q. You mean there are companies that you wanted
19 room gets a check, we deposit it, and until we endorse 19 to make fake checks for that you didn't make fake
20 it and put our account number on the back, there's 20 checks?
21 nothing on the back of the check. So Wal-Mart's check 21 A. No. The only companies that fake checks
22 had nothing on the back for the auditors to look at, 22 were made for were StrataSys, ENA, and the Joy check
23 correct? 23 that were provided by Joy. So the only two companies --
24 A. For the Wal-Mart check, yes. That's 24 there were only two companies that checks were
25 correct. For the Joy check, it's not correct. 25 requested -- were purchased over the internet.
Page 3851 Page 3853
1 Q. Well, let's talk -- we'll talk about Joy 1 Q. Sir, just as you made the fake checks, alll ;
2 checks. I promise you I will come back and I will tell 2 these, (indicating) all these fake checks, you could
3 them to you. 3 have made and did make fake checks for another company
4 A. I just don't want them to misunderstand. 4 called ENA, right?
5 Q. We're both in agreement on that, and with 5 A. Yes.
6 respect to Wal-Mart check, nothing on the back, so BDO 6 Q. And you got the checks, Joy, and those were
7 Seidman didn't need the back of the check. 7 fake checks --
8 A. Right. With respect to the check of 8 A. (Nodding.)
9 Wal-Mart, yeah, there was no -- 9 Q._ -- but because you had all this information,
10 Q. Now, we're talking about checks. Exhibit 10 if you needed to make fake checks, you had the ability
11 4500, I believe, is in evidence. You were shown this 11 to make fake checks, correct?
12 yesterday? 12 A. Yeah.
13 A. Yes. 13 Q. That's correct, isn't it? One of the things
14 Q. Now, you were able to order over the 14 you learned at --
15 internet fake checks, right? 15 THE COURT: He hasn't answered the question.
16 A. Yes. 16 MR. RAYMOND: I saw him nod his head.
17 Q. So you had a Wal-Mart check. You had 17 THE COURT: I'm not sure what that meant.
18 possession of Wal-Mart checks and you had the front of 18 THE WITNESS: I'm going to ask you to
19 Wal-Mart Checks. And what you do when you order fake 19 rephrase your question.
20 checks is that you provide all the information that's on 20 BY MR. RAYMOND:
21 __ the bottom line. Can you go to -- go to any check 21 Q. Certainly. One of the things that you
22 please, five or six in. 22 learned over the years at Bankest was how to create fake
23 When you order checks, you need that 23 checks, correct?
24 information there, right, the banking -- that's the bank 24 A. For those two companies, for three
25 25

 

routing information?

 

companies, yes.

 

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8 (Pages 3854 to 3857) °

 

 

 

Page 3854 Page 3856
1 Q. And you could have made fake checks for 1 A. Those two times, yes.
2 other companies if you had to, correct? 2 Q. You batted a thousand those two times?
3 MR. DORTA: Your Honor, it calls for 3 A. F'msorry?
4 speculation. 4 Q. You got it right both times? You were able
5 THE COURT: Sustained. That question is -- 5 to do it both times?
6 stop. 6 A. We got the checks, yes.
7 BY MR.RAYMOND: 7 Q. Now, when -- with the exception of
8 Q. As the vice president of finance, you were 8  StrataSys, ENA, and Joy that you had control over, if
9 in charge of making sure that every fake document that 9 you wanted the back of the Wal-Mart check, you didn't
10 needed to be made was made, correct? 10 have it, correct?
11 A. Yes. 11 A. No.
12 Q. And you made the deliberate and conscious 12 Q. Because it goes back to the person that
13 decision to order fake checks for StrataSys, correct? 13 writes the check?
14 A. Yes. 14 A. That's right.
15 Q. And you made the deliberate and conscious 15 Q. Cancelled checks are at Wal-Mart, they're at
16 decision to order fake checks for ENA? 16 K-Mart?
17 A. Yes. 17 A. That is correct.
18 Q. And you worked with the folks at Joy 18 Q. Cancelled checks for real customers and even
19 Athletic to produce fake checks for Joy Athletic, 19 cancelled checks for fake customers, they were with
20 correct? 20 those customers. They weren't with Bankest, correct?
21 A. That is correct. 21 A. That is correct.
22 Q. And if you were asked for checks for other 22 MR. RAYMOND: Can J ask you to please take a
23 companies, you knew how to make them if you so chose to, §23 look on the screen, Exhibit 95 in evidence.
24. correct? 24 (Technician complies.)
25 A. I don't know for other companies. For 25 MR. RAYMOND: Judge, if the jury doesn't
Page 3855 Page 3857
1 Wal-Mart certainly not. 1 object, can I make it a little cooler in here?
2 THE COURT: That's not the question. 2 THE COURT: That's asking a lot of the jury.
3. BY MR. RAYMOND: 3 T'll make it just one degree cooler.
4 Q. You knew how to make them. You knew how to 4 MR. RAYMOND: Thanks, Judge.
5 make fake checks, yes? 5 BY MR. RAYMOND:
6 A. For StrataSys, ENA, and Joy, yes. 6 Q. You're looking at Exhibit 95?
7 Q. But sir, you chose to put the name StrataSys 7 A. Yes.
8 here? 8 Q. This is a private-placement memorandum dated
9 MR. DORTA: Judge -- 9 April 15th, 1998?
10 BY MR. RAYMOND: 10 A. That is correct.
11 Q. You could have put another name there? 11 Q. And this was private-placement memorandum
12 MR. DORTA: Judge, asked and answered. 12 utilized by E.S. Bankest corp to raise $36 million?
13 THE COURT: Overruled. He hasn't answered 13 A. Yes.
14 the question. 14 Q. And you see in the middle there it talks
15 BY MR. RAYMOND: 15 about the collateral agent?
16 Q. You could have put other names here if you 16 A. Yes.
17 so chose, correct? 17 Q. Do you see that right there? (Indicating.)
18 A. Possibly. I don't know. I did it with 18 A. Yes.
19 those two companies. And I was able to purchase those 19 Q. Now, that meant that the collateral behind
20 checks. I don't know if I was going to be able to do it 20 _ these notes was to be held by Banco Espirito Santo bank;
21 ~~ with a third company. I don't know. 21 is that correct?
22 Q. Did you place orders for any other checks? 22 A. Yeah. They were party in charge on behalf
23 A. No. 23 of the noteholders.
24 Q. So each time you tried it, you were 24 Q. Now, with respect to the collateral, do you
25 25 know what collateral was given to Banco Espirito Santo

 

successful?

 

 

 

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Page 215
IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT

IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP,
Defendant.

BDO SEIDMAN, LLP,

Third-Party Plaintiff,

vs.

VICTOR BALESTRA, BERNARD MOLLET, JOAQUIN GARNECHO,
PIBRRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPIANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANI,

Third-Party Defendants.

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Volume 3

MORNING SESSION
Miami, Florida
Wednesday, April 11, 2007

9:50 a.m.

Before the Honorable Jose M. Rodriguez

Reported by: Gizella "Gigi" Baan

   

 
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2 (Pages 216 to 219)

 

 

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1 APPEARANCES 1 On behalf of Third-Party Defendants Victor Balestra,
2 2 Bernard Mollet, and Joaquin Garnecho
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6 (305) 461-5100 6 MR. THOMAS: (Voir dire) 257
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23

 

 

 
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8 (Pages 240 to 243)

 

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Page 242 ;

 

1 T-shirts, and let me just use a number of $100,000. 1 Q. And in fulfilling your duties to the federal
2 MR. SCHNAPP: Your Honor, I'm going to pose 2 __ court, did you learn about specific transactions
3 an objection that Mr. Freeman is lecturing the jury. 3 involving Joy Athletic selling T-shirts?
4 This should be question-and-answer form. 4 A. Yes.
5 THE COURT: Sustained. Ask the question and 5 Q. And is what you're explaining to this jury
6 then a question only. 6 _ based on the information that you gathered in performing
7 BY MR. THOMAS: 7 your duties for a federal court?
8 Q. Mr. Freeman, in what you're describing, 8 MR. SCHNAPP: Objection. Leading.
9 Wal-Mart would purchase $100,000 worth of T-shirts from 9 THE COURT: Overruled.
10 Joy? 10 THE WITNESS: Yes.
11 A. Yes, 11 BY MR. THOMAS:
12 Q. And would Wal-Mart pay when the truck 12 Q. And when 90 days later Wal-Mart was supposed
13 arrives? 13 to pay Joy --
14 A. No. 14 A. Okay.
15 Q. What would be the arrangement, then? 15 Q.  -- and Joy couldn't wait 90 days to receive
16 A. Wal-Mart -- let's say these were shipped 16 that money, what did Joy do?
17 today; they don't get paid today. Wal-Mart would say we 17 A. Okay. Joy, like any business, has to pay
18 ‘owe you $100,000. And let's assume this is today. 18 their rent, their salaries, and for the T-shirts they
19 T-shirts go this way. And Wal-Mart says we will pay you 19 bought and all their other expenses. So if today was
20 30days from now. I'm sorry. 90 days from now. So 20 the day that we shipped this, and tomorrow was payroll
21 90 days from then, they would send their money back to 21 or [had to pay for the T-shirts, Joy had to figure
22 = Joy. 22 out -- either have enough money in the bank to pay for
23 Q. Mr. Freeman, when Wal-Mart would owe Joy 23 __ all these things for the next 90 days or they had to go
24 within 90 days, what would Joy do if Joy could not wait 24 out and get money against this $100,000 today so they
25 90 days to receive the payment for the T-shirts? 25 could pay their bills.
Page 241 Page 243 f
1 MR. SCHNAPP: Your Honor, objection. 1 Q. And Mr. Freeman, who was Bankest Capital?
2 Hypothetical not based on evidence. Also under 701, 2 A. Bankest Capital was a company here in
3 he's not been qualified as an expert. 3. Miami --
4 THE COURT: Sustained. 4 Q. I think it's the other little thing. I'm
5 BY MR. THOMAS: 5 sorry, mine is more confusing, it says, Capital.
6 Q. Mr. Freeman, were you appointed by a federal 6 A. I'msorry. Bankest Capital was a company
7 court to examine the business of E.S. Bankest? 7 here in Miami that factored receivables.
8 A. Yes, I was. 8 Q. And who were the gentlemen who owned and ran
9 Q. And as part of being appointed by a federal 9  Bankest Capital?
10 court to examine the business of E.S. Bankest, did you 10 A. They were the Orlanskys and Mr. Parlapiano.
11 have to report back to that federal court? 11 Q. And what did Joy do with Bankest Capital
12 A. Yes, I did. 12 when they couldn't wait the 90 days to get the money
13 Q. And were part of the responsibilities that 13 from Wal-Mart?
14 the federal court gave you as the examiner and later 14 A. Wal-Mart, instead of paying here, 90 days
15 __ receiver of E.S. Bankest to understand the business of 15 out, Joy would say don't pay us in 90 days, pay right
16 ~ES. Bankest? 16 here, pay Bankest Capital.
17 MR. SCHNAPP: Objection. Series of leading 17 Q. And what would Bankest Capital do for Joy?
18 questions. 18 A. Okay. Day one, when the shirts were
19 THE COURT: Overruled. 19 shipped, Bankest Capital paid 80 percent or $80,000 to
20 THE WITNESS: Correct. 20 = Joy.
21 BY MR. THOMAS: 21 Q. In this situation, Mr. Freeman, was the
22 Q. And in fulfilling your duties to the federal 22 business of Capital to pay $80,000 today to Joy Athletic
23 court, did you, in fact, learn about the business of 23 in exchange for receiving 100,000 in 90 days from
24 ES. Bankest? 24 Wal-Mart?
25 A. Correct.

 

 
   
   
  
  
   
  
  
  
   
  
  
  
  
  
 
  

  

 

 

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9 (Pages 244 to 247)

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1 . Q. Mr. Freeman, you weren't the court-appointed 1 MR. THOMAS: With Your Honor’s permission, I
2 examiner initially for Bankest Capital, were you? 2 will ask Mr. Freeman to retake the stand.
3 A. No. 3 THE COURT: He may.
4 Q. How did E.S. Bankest fit into this 4 THE WITNESS: (Complies.)
5 transaction? 5 BY MR. THOMAS:
6 A. E.S. Bankest would go out and get the money 6 Q. Now, Mr. Freeman, based on your
7 and say to Capital, here is the $80,000 you need. When 7 understanding of the business as you've just explained
8 the $100,000 comes in in 90 days, don't pay them; pay 8 to the jury, what was the primary asset of E.S. Bankest?
9 me. 9 A. The accounts receivable they had bought from
10 Q. Mr. Freeman, who owned E.S. Bankest? Letme [10 other companies, customers.
11 ask it in a different time frame. 11 Q. And these accounts receivable, are they like
12 During the period 1998 until 2002, who owned 12 anIOU?
13. E.S. Bankest? 13 A. Correct.
14 A. There were two groups of shareholders or 14 Q. And Mr. Freeman, when you showed up that
15 members. Bankest Capital owned 50 percent, and the 15 first morning as the court-appointed examiner of E.S.
16 other 50 percent was owned by the Espirito Santo bank 16  Bankest, what were you provided about the accounts
17 = group. 17 receivable?
18 Q. Now, Mr. Freeman, at this point in the 18 A. The first morning when I got there, my
19 transaction, Bankest is paying out 80,000 through 19 question was, well, do we have current financial
20 Capital to Joy; is that right? 20 statements, do we have a list of the accounts receivable
21 A. Yes. 21 that we own, and I was told, yeah, we do.
22 Q. And in exchange in 90 days is now E.S, 22 And Victor Balestra, who was Espirito Santo
23  Bankest supposed to receive the 100,000? 23 from downstairs, went and got me copies of the most
24 A. Correct. So the IOU is now being paid to 24 current list of the accounts receivable and the
25  Bankest. 25 certified financial statements.
Page 245 Page 247 }
1 Q. Mr. Freeman, you said E.S. Bankest was 1 MR. THOMAS: Your Honor, may I approach the
2 getting the money. Where was E.S. Bankest getting the 2 witness?
3 money from? 3 THE COURT: You may.
4 A. E.S. Bankest got the money from Espirito 4 MR. THOMAS: Your Honor, I'm approaching the
5 Santo who went out and raised it for them. 5 witness with Plaintiffs' Exhibit Number 87 in evidence.
6 Q. And Mr. Freeman, understanding now the 6 BY MR. THOMAS:
7 transaction, E.S. Bankest was supposed to make money by 7 Q. Mr. Freeman, Plaintiffs’ Exhibit Number 87
8 paying 80,000 out today in exchange for making $100,000 8 in evidence, is that what you received that first
9 in 90 days? 9 morning?
10 A. Yes. 10 A. Yes, sir.
11 MR. SCHNAPP: Objection. Leading. 11 Q. And what is it?
12 THE COURT: Rephrase the question. 12 A. It's the certified financial statements of
13. BY MR. THOMAS: 13 ES. Bankest, LLC, dated -- financial statements dated
14 Q. How was E.S. Bankest supposed to make money, 14 December 31, 2002, and 2001.
15 Mr. Freeman? 15 MR. THOMAS: Your Honor, may I just inquire
16 A. Okay. E.S. Bankest went out and got the 16 of Jurors 6 and 7 if they're able to see the screen.
17 $0,000 or bought the receivables from Bankest Capital 17 THE COURT: Ladies and gentlemen, if you
18 who had bought them from Joy. So instead of Wal-Mart 18 cannot see the screen, please tell me so you may move to
19 paying them or paying Bankest Capital, they were 19 accommodate yourselves.
20 supposed to pay Bankest. Bankest would then repay the 20 MR. THOMAS: If you have trouble seeing, you
21 money that they got and make their profits. 21 can move up one --
22 Q. And the difference between 100,000 and 22 THE COURT: I just said that.
23 80,000 is how much? 23 Ask the question.
24 A. $20,000. 24 BY MR. THOMAS:
25 Q. Thank you, Mr. Freeman. 25 Q. Mr. Freeman, can you please turn to the next

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10 (Pages 248 to 251)

 

 

Page 248 Page 2508
1 page? 1 BY MR. THOMAS:
2 A. (Complies.) 2 Q. Mr. Freeman, you earlier testified that when
3 Q. When did these financial statements come 3 you reviewed this independent auditor's report of BDO
4 out? 4 Seidman just a -- issued just a few months before you
5 A. Well, the independent auditor's report came 5 _ showed up, that you were happy to see it.
6 out on April 16th, 2003. 6 Do you recall that testimony?
7 Q. And how long was that before you were 7 A. Yes.
8 appointed by Judge Huck as the examiner of E.S. Bankest? 8 Q. And in carrying out your duties as the
9 A. Three to four months. 9 court-appointed examiner of E.S. Bankest, why were you
10 Q. Mr. Freeman, if you would look at the bottom 10 pleased to see this report issued just a few months
11 paragraph -- 11 before you showed up?
12 A. Okay. 12 A. National accounting firm that issued this
13 Q. -- where it states, in our opinion, the 13 audit report, independent audit report, said everything
14 financial statements referred to above present fairly in 14 was fine and that, you know, based in April -- up to
15 all material respects, the finance position of E.S. 15 April, three months, four months before I came in, this
16 Bankest, LLC, as of December 31, 2002, and 2001, andthe [16 is as good asit gets.
17 _ results of its operations and its cash flows for the 17 You know, this is when the big accounting
18 years ended December 31st, 2002, and 2001 in conformity 18 firm is saying that it's independent and the audit is
19 with accounting principles generally accepted in the 19 fairly stated. So that the numbers -- in my opinion, in
20 United States of America. 20 my history, these numbers are great. I'm overjoyed to
21 Mr. Freeman, when you arrived as the 21 have them.
22 court-appointed examiner in August of 2003 just a few 22 Q. And when you're referring to these numbers
23 months after this came out, did you review this report? 23 that BDO Seidman say present fairly the financial
24 A. Yes. 24 position of E.S. Bankest, are you referring to some of
25 Q. And Mr. Freeman, what was your conclusions 25 the numbers that are found on the next page?
Page 249 Page 251 7
1 as the court-appointed examiner when you first reviewed 1 A. Yes. That's the balance sheet, part of the
2 this report? 2 financial statements.
3 MR. SCHNAPP: Objection, Your Honor. 3 Q. And Mr. Freeman, do you see an amount there
4 Rule 701. 4 for the accounts receivable?
5 THE COURT: Overruled. 5 A. Yes, I do.
6 MR. SCHNAPP: And also 604. 6 Q. And what's that amount?
7 THE COURT: What is that? 7 A. 223,870,000.
8 MR. SCHNAPP: Your Honor, it's Rule 701 and 8 Q. And what percentage of the assets of E.S.
9 Rule 604. 9  Bankest were made up of these accounts receivable?
10 THE COURT: Overruled. 10 A. About 99 percent.
11 THE WITNESS: Could you repeat the question? 11 Q. And Mr. Freeman, did you also see on the
12 THE COURT: Read it back, Gigi. 12 numbers audited by BDO Seidman the leans from ES. --
13 (Thereupon, the court reporter read back the 13 from Espirito Santo?
14 requested portion.) 14 A. Yes.
15 THE WITNESS: I was happy. 15 Q. And could you point those out, please?
16 BY MR. THOMAS: 16 A. The 142 million and the line of credit of s
17 Q. And why, Mr. Freeman, in carrying out your 17 30. So 172 million. :
18 duties as appointed by the Court were you happy when you § 18 Q. And Mr. Freeman, when you arrived as the :
19 _ saw this audit report from BDO Seidman issued just a few 19 court-appointed examiner on that first day at E.S. i
20 months before? 20  Bankest, did you understand that the approximate amount
21 A. Well, as a -- in my role as the examiner -- 21 of the money owed to Espirito Santo was $170 million? ;
22 MR. SCHNAPP: Objection, Your Honor. Not 22 A. Yes. Hi
23 responsive. 23 Q. And Mr. Freeman, when you arrived on that ;
24 THE COURT: I'm not sure you and I know the 24 first day as the court-appointed examiner of E.S. |

  

question. Why don't you rephrase the e question.

 

 

 

 

Bankest, what did you understand based on BDO's audited
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11 (Pages 252 to 255)

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1 _ financials for the amount of assets available to pay 1 A. Also the $30 million, Note 2 also. ;
2 _ back that loan to Espirito Santo? 2 Q. Mr. Freeman, on that first day that you
3 A. There is -- 3 arrived at E.S. Bankest, you earlier referred to a list
4 MR. SCHNAPP: Objection under Rule 701. 4 of accounts receivable that was provided to you by
5 THE COURT: Overruled. 5 Victor Balestra of Espirito Santo.
6 THE WIFNESS: That there was approximately 6 Do you recall that testimony?
# 7 $224 million available in accounts receivable to pay 7 A. Yes, I do.
8 back the 172 million which was 142 plus the 30 owed to 8 MR. THOMAS: May I approach the witness,
9 the bank. 9 Your Honor.
10 BY MR. THOMAS: 10 THE COURT: You may.
12 Q. Mr. Freeman, as part of your duties as the 11 MR. THOMAS: I'm approaching the witness
12 court-appointed examiner of E.S. Bankest, did you 12 with Plaintiffs’ Exhibit 7293 marked for ID.
13 understand that BDO Seidman had audited these numbers? [13 BY MR. THOMAS:
14 A. Yes. 14 Q. Mr. Freeman, have you seen Plaintiffs'
15 Q. And Mr. Freeman, as part of your duties as 15 Exhibit 7293 marked for ID before?
16 the court-appointed examiner of E.S. Bankest, did you 16 A. Yes.
17 understand that BDO Seidman had also audited the notes 17 Q. What is it?
#18 that were in the financial statements? 18 A. It's a list of accounts receivable that I
19 A. Yes. 19 received on August 11th, '03, from Victor Balestra.
20 Q. I'm going to ask you to please turn with me 20 MR. THOMAS: Your Honor, at this time
21 ~~‘ to page 11. 21 plaintiffs move into evidence Plaintiffs’ Exhibit 7293
22 A. (Complies.) 22  ~= marked for ID.
23 Q. Mr. Freeman, do you see on page 11 where it 23 MR. SCHNAPP: Your Honor, may I voir dire on
24 refers to promissory notes? 24 this document? Or actually, can I just -- if I can just
25 A. Yes. 25 make -- Your Honor, can I approach? I can do it on the
i i
Page 253 Page 255
1 Q. And based on your carrying out your duties 1 record faster.
2 as the examiner and later the receiver as appointed by 2 THE COURT: Not in front of the jury. Are
3 the federal court, what did you understand the 3 you asking to voir dire the witness?
4 promissory notes referred to? 4 MR. SCHNAPP: I'm asking to voir dire the
5 A. If we go back to page 3 for a second -- 5 witness.
i 6 MR. THOMAS: Can we do that, please? 6 THE COURT: Ladies and gentlemen, I need you
7 MR. SCHNAPP: Your Honor, I'm going to 7 to step into the jury room for a couple of minutes.
8 object under Rules 604 and 701] again. 8 Leave your notes, turn them over. Only the front page.
9 THE COURT: Overruled. 9 Do not discuss this case amongst yourselves,
10 THE WITNESS: If we go under liabilities and 10 ladies and gentlemen.
11 promissory notes, Note Number 2, the 142 million, that's 11 (Thereupon, the jury was escorted out of the
12 what Note 2 on page 11 -- we can go back to that -- 12 courtroom.)
13 _ refers to. 13 THE COURT: All right. You may be seated. ;
14 (Technician complies.) 14 Mr. Schnapp. i
15 MR. THOMAS: And if we can just go back to 15 VOIR DIRE EXAMINATION i
16 page 3. 16 BY MR. SCHNAPP: :
17 Sorry to jump around on you. 17 Q. Mr. Freeman, who prepared Exhibit 7293?
18 (Technician complies.) 18 A. It was prepared from the books and records :
19 BY MR. THOMAS: 19 of E.S. Bankest.
20 Q. On page 3 where it says, line of credit, 20 Q. My question, sir, is who prepared it? :
21  30million? 21 A. The employees of E.S. Bankest. :
22 A. Yes. 22 Q. Where did you get it? j
23 Q. And what did you understand based upon your [23 A. I got it from Victor Balestra. :
24 performance of your duties as appointed by the Court 24 Q. And how do you know that Mr. Balestra -- k
25 that the line of credit referred to? 25 where Mr. Balestra got this document from?

  
   
  
  
  
  
   
  
  
   
  
  
  
  
  
     
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12 (Pages 256 to 259)
Page 256 Page 258 ff
1 A. Mr. Balestra told me that he got it from 1 Q. Incarrying out your duties as the
2 ES. Bankest, and I found copies of this later at E.S. 2 _ court-appointed examiner of E.S. Bankest, did you rely
3 Bankest. 3 upon Plaintiffs’ Exhibit 7293 marked for ID?
4 Q. Do you know if this is accurate? 4 A. Yes, I did.
5 A. I don't know how to answer that, 5 Q. And just to follow up on something you said
6 Mr. Schnapp. 6 before, Mr. Freeman, did you also see other copies of
7 Q. Do you know if this was a document -- 7 Plaintiffs' Exhibit 7293 marked for ID at E.S. Bankest
8 A. This was a record that was kept in the 8 when you were there?
9 ordinary course of business and used as a -- used at 9 A. Yes, I did.
10 ES. Bankest, yes, sir. I know that much. 10 MR. THOMAS: Just one moment.
11 Q. Sir, the document that is 7293 marked for 11 THE COURT: That's it?
12 _ identification, it has a date of 8-11-03 at the upper 12 MR. THOMAS: Sorry, Your Honor. Ihave
13 left-hand corner. Do you see that? 13 nothing further.
14 A. Yes, sir. 14 THE COURT: Hold on.
15 Q. Do you know who put that there? 15 MR. SCHNAPP: I have two more questions.
16 A. I did. 16 THE COURT: Ask the two questions and then
17 Q. And what is the significance of that date? 17° you can go.
18 A. It's the first day I was there. 18 VOIR DIRE EXAMINATION
19 Q. What is the date that the receivables that 19 BY MR. SCHNAPP: .
20 are listed on 7293 -- strike that. 20 Q. Is everything that you know about this
21 What is the as-of date for 7293? 21 document based upon what you were told by others?
22 A. Well, I see my annotation there where it 22 A. Which document?
23 says 6, dash, 30. June 30th would be the date. 23 Q. 7293.
24 Q. And Exhibit Number 87, which was earlier 24 A. No, sir. From our investigation.
25 shown to you, that was the -- that would have shown the §25 Q. But you were told information about the
Page 257 Page 2598
1 receivables as of the close -- 1 document by others; is that correct?
2 MR. THOMAS: Objection, Your Honor. Outside 2 A. As part of my investigation.
3 the scope of voir dire on this document. 3 Q. Sir, who create the information --
4 MR. SCHNAPP: If I can tie it -- 4 THE COURT: He's answered that.
5 THE COURT: I haven't heard the whole thing. 5 MR. THOMAS: Objection. Asked and answered.
6 BY MR. SCHNAPP: 6 THE COURT: All right. We're going to take
7 Q. That covers a different time frame than the 7 ~~ aquick bathroom break. So if you need to go, this is
8 document that was shown to you as Exhibit 7293, right? 8 _ the time to go.
9 A. Yes, sir. 9 Tell the jury the same thing.
10 MR. SCHNAPP: Your Honor, I would object to 10 THE CLERK: They're already doing that.
11 _ this document on several grounds. 11 (Thereupon, a brief recess was taken.)
12 THE COURT: I think Mr. Thomas has to ask 12 MR. SCHNAPP: May I make my objection?
13 questions. 13 THE COURT: You did make the objection.
14 MR. SCHNAPP: After Mr. Thomas. 14 MR. SCHNAPP: I wanted to make sure that I
15 VOIR DIRE EXAMINATION 15 added in there -- I wanted to be clear that this
16 BY MR. THOMAS: 16 document does not reflect the time frame that was
17 Q. Mr. Freeman, as part of your duties as the 17 audited by BDO Seidman.
18 court-appointed examiner of E.S. Bankest, did you 18 These receivables have not been shown to
19 receive Plaintiffs' Exhibit marked for ID 7293? 19 connect the forms that were in the audited statements #
20 A. Yes, sir. 20 = for 2001, 2002, and Mr. Freeman has no personal :
21 Q. As part of your duties as court-appointed 21 knowledge about how this document was created or what it :
22 examiner of E.S. Bankest, did you keep Plaintiffs’ 22 represents. y
23 Exhibit marked for [D 7293 in the ordinary course of 23 THE COURT: Ready? Bring them in. ;
24 your business as receiver? 24 THE CLERK: (Complies.)
25 A. Yes. 25 All rise for the jury.

   

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13 (Pages 260 to 263)

   
   
  
  
  
  
  
   
  
  
   
  
  
  
  

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1 (Thereupon, the jury was brought into the 1 MR. SCHNAPP: Objection, Your Honor, under
2 courtroom.) 2 701 and 604, and this gets into the issue of what was --
3 THE COURT: You may be seated. 3 THE COURT: Overruled.
4 Are you getting coffee back in the jury 4 THE WITNESS: Yes.
5 room? Is there coffee back there for you? 5 THE COURT: That's fine.
6 THE JURY: Yes. 6 I'm going to sustain the objection.
7 THE COURT: All right. You may be seated. 7 Rephrase the question.
8 Exhibit 7293 for ID is accepted into 8 BY MR. THOMAS:
9 evidence as Plaintiffs' 7293 into evidence over defense 9 Q. Mr. Freeman, during that first week in
10 objection. 10 carrying out your duties as the court-appointed examiner
11 You may proceed. 11 and then receiver of E.S. Bankest, did you find out
12 DIRECT EXAMINATION (continued) 12 anything about BDO's relationship with one of ES.
13. BY MR. THOMAS: 13 Bankest's clients that made you conclude, based on your
14 Q. Mr. Freeman, Plaintiffs’ Exhibit 7293 now in 14 investigation, that you could not rely upon BDO
15 evidence, can you please describe for the jury what it 15  Seidman's audited financial statements?
16 is? 16 MR. SCHNAPP: Objection under Rules 401,
17 A. Yes. I asked and received a list as of June 17 403, and 701.
18 30th or the most current list of the accounts receivable 18 THE COURT: Overruled.
19 that were owned by E.S. Bankest. And up on top it says, § 19 THE WITNESS: Yes.
20 ES. Bankest, LLC, Accounts Receivable, AR, Aging for 20 BY MR. THOMAS:
21 2003, dash, 06-30, which is June 30th. 21 Q. And what did you discover about a
22 Q. And in the upper left it says from Victor? 22 relationship between BDO Seidman and one of ES.
23 A. Yes. I wrote it. 23  Bankest's clients?
24 Q. Who does that refer to? 24 A. That they were business partners.
25 A. Victor Balestra, August 11th. It was my 25 Q. Could you please describe to the jury your
Page 261 Page 263
1s first day there. 1 investigation and how you discovered this?
2 Q. And Mr. Freeman, who did you understand were 2 A. In the first week I went from examiner to
3 the names that are listed on the left here, AT&T and 3 receiver. And as the receiver, I had a lot more power
4 those sort of companies? What did they represent? 4 and a lot more duties and a lot more investigative
5 A. Those were the companies whose accounts 5 _ things I was supposed to do. So what I tried to do was,
6 receivables were purchased by -- in this case, Bankest 6 you know, the balance sheet that's full of money that's
7 ~~ Capital, E.S. Bankest. 7 owed to you, you want to make sure it's collectible.
8 Q. And if you would please look at the last 8 And there were four or five companies that we bought
9 page of the accounts receivable list. 9 their accounts receivable from, and I wanted to know if
10 MR. THOMAS: Can we go there? 10 ‘the receivables were good.
11 (Technician complies.) 11 So on the first day -- second day I was the
12 BY MR. THOMAS: 12 receiver, Thursday, I got in my car, the offices of E.S.
13 Q. And what is the total amount of accounts 13. Bankest were on Brickell Avenue, and I went out toa
14 receivable -- that this accounts receivable list shows? 14 company called StrataSys, S-T-R-A-T-A-S-Y-S, which was a
15 A. 224,416,000 plus. 15 consulting computer company out on Kendall Drive.
16 Q. And was this consistent with the audited 16 And in my investigation up to then I had
17 financials of BDO Seidman, Plaintiffs' Exhibit 17 found that Mr. Parlapiano, who was one of the operating
18 Number 87? 18 people of E.S. Bankest, was also very active and
19 A. Yes. On page 3 of the audited financials 19 president or chairman of StrataSys, this company out on
20 for December 31, 2002, the number was very close. 20 Kendall Drive that was in the computer consulting
21 223,870,000. 21 business.
22 Q. Mr. Freeman, did you discover anything that 22 Q. Mr. Freeman, could you please explain when
23 first week about BDO's relationship with one of Bankest 23 _ we say that StrataSys is a client of E.S. Bankest, what
24 clients that made you think that you could not, in fact, 24 that means as far as the receivables?
25 25

     

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rely on BDO Seidman's audited financial statements?

 
   

 

 

   
  
    
  
  
  
  
  
   
  
  
  
  
  
   

A. Okay. If Ilook at the -- maybe put up the

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14 (Pages 264 to 267)

 

 

 

 

 
   

 

Page 264 Page 266 @
1 chart. That might help. 1  (Laughter.)
2 Q. (Complies.) Mind if I just hold it for a 2 THE WITNESS: Okay.
3 moment? 3. BY MR. THOMAS:
4 A. If you're able to, that's great. 4 Q. Mr. Freeman, when you reviewed this accounts
5 Q. Not too long. 5 _ receivable listing and saw that it showed a total of
Ic A. Okay. Joy -- if [can read my writing 6 $32 million from StrataSys as part of your
7 properly -- okay. 7 investigation, what did you try to do?
8 Wal-Mart was a customer. Joy was the 8 A. Verify that they were collectible.
9 client. So Joy's accounts receivable were purchased by 9 Q. And to verify that they were collectible,
10 Capital. The customer was Wal-Mart. So StrataSys was $10 now having learned that Mr. Parlapiano, who worked for
11 just like Joy. It was a company that we bought their 11 ELS. Bankest and Capital also worked for StrataSys, what
12 accounts receivable. 12 ~~ did you do?
13 That's good enough, Mr. Thomas. 13 A. I called. I called Mr. Parlapiano out at
14 Q. Thank you. 14  StrataSys and I left a voice mail. He didn't answer.
15 A. And if I go through the list of accounts 15 Q. So then what did you do?
16 receivable as of June 30th, I'll get to a place where -- 16 A. Gotin my car. Drove out to -- from
17 I don't know if this one has it. 17 Brickell Avenue out to 107th and Kendall.
18 Okay. If we go to page 4 of Exhibit 7293, 18 Q. And when you got out to 107th and Kendall
19 it says StrataSys Corporation. I circled it. That's my 19 which was StrataSys offices -- well, how long did it
20 writing. It's a Miami company. It's at Kendall and 20 take you to get out there?
21 107th, and it says, in my writing, Parlapiano -- I guess 21 A.. I was lucky; it was about 2:00 o'clock. I
22 _ it's Parlapiano -- is a director. This is the first 22 ~~ didn't hit rush hour. In about 15 minutes.
23 couple of days. 23 Q. And what did you find when you got out to
24 Then the listing on page 4 goes ABN AMRO, 24  StrataSys's offices?
25 AIG, American Bankers, those are 400,000, 600,000. 25 A. I called the Capital Bank building out on
Page 265 Page 267 §
1‘ That's the amount of the receivables that we purchased. 1 107th and Kendall. I found the offices of StrataSys. I
2 If we go to page 5, and let's take that first column 2 found a parking lot that was very empty with a lot of
3 down from a million 1302 all the way down -- 3 spaces on it that said StrataSys. You know how they
4 (Technician complies.) 4 stencil them on the bumpers? And this is a Thursday at
5 -- to the School Board of Dade County, these 5 3:00 in the afternoon. I said, gee, there's an awful
6 are all people that StrataSys sold goods or services to, 6 Jot of empty parking spaces.
7 and we had purchased all these accounts receivable. 7 Q. So what did you do?
8 Carnival Corporation, City of Hialeah, EMC, Fresh Del 8 A. I went in the building and I looked at the
9 Monte, a great big one, a million one, Dade County, 9 marquis, and it said what floor StrataSys was on, and I
10  (inaud.) School Board, a million 780. 10 believe it was up on the 4th or 5th floor. I went to
11 Let's go to the next page. And if we can go 11 the 5th floor. Went to get off on the 4th, it was
12 on that first column again -- 12 locked. They were being evicted. There was a sign from
13 (Technician complies.) 13 the landlord that StrataSys was being evicted. I went
14 Perfect -- to the 32 million. You've got 14 to the 5th floor, the floor above it, and I walked into
15 Union Planters, University of Miami, Visa International, 15 a lobby that had a reception area and a desk.
16 these were the customers. Did I get it right? 16 Q. And what did you do?
17 Customers. Clients? Yeah. Customers. 17 A. There was no receptionist. There was a
18 And this shows that on that listing 18 phone and a listing of employees, maybe half a page
19 — StrataSys had controlled $32 million worth of accounts 19 long. I picked up the phone and I called
20 receivable to E.S. Bankest. 20 Mr. Parlapiano's extension. I got voice mail again.
21 Well, I looked at it and said 32 million 21 Q. Then what happened?
22 bucks -- 22 A. I continued to look around the lobby. This
23 MR. SCHNAPP: I'm sorry, Your Honor, is 23 is just a desk area. And on the desk was a lucite cube.
24 there a question? 24 Q. And what was the lucite cube? What did it
25 THE COURT: Not anymore. Sustained. say on it?

 

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15 (Pages 268 to 271)

 

 

 

 

Page 268 Page 270 @
1 A. The lucite cube said that it was announcing 1 independent. Over here --
2 that StrataSys had become strategic partners with BDO 2 MR. SCHNAPP: Objection, Your Honor. It's
3 Seidman/Star Alliance, I believe was the name of it, and 3 not responsive. Also Rules 401, 403, and 701.
4  aneffective date. 4 THE COURT: Gigi, I want you to read back
5 Q. And as the court-appointed receiver of E.S. 5 the question, and I want Mr. Freeman to answer the
6  Bankest and based upon your investigation at that point, 6 question.
7 what was your reaction when you saw a cube that 7 (Thereupon, the court reporter read back the
8 announced that BDO Seidman was partners with one of the 8 requested portion.)
9 clients of Bankest whose accounts receivables they were 9 THE WITNESS: Made me question the
10 supposed to be certifying? 10 independence -- ,
11 A. Iwas stunned. 11 THE COURT: Overruled.
12 Q. Why? 12 MR. SCHNAPP: Your Honor, I'm going to
13 A. Well -- 13 object under 701, 403, and 401.
14 MR. SCHNAPP: Objection, Your Honor. Rule 14 THE COURT: Not yet.
15 701. 15 THE WITNESS: Okay.
16 THE COURT: Sustained. 16 THE COURT: I'm going to sustain the
17. BY MR. THOMAS: 17 objection.
18 Q. Mr. Freeman, as the court-appointed receiver 18 Actually the question is proper. The answer
19 of E.S. Bankest, were part of your duties to determine 19 isnot. .
20 whether the accounts receivable were real or fake? Is 20 MR. THOMAS: I will try to lay a predicate,
21 that part of your duties? 21 Your Honor. Thank you.
22 A. Yes, sir. 22 BY MR. THOMAS:
23 Q. And as part of your duties as the 23 Q. Mr. Freeman, as part of your duties as the
24 court-appointed receiver of Bankest, did you travel to 24  Court-appointed receiver of E.S. Bankest, was one of --
25  StrataSys? 25 some of the documents that you got, reviewed, the
Page 269 Page 2719
1 A. Yeah. 1 audited financial statements of BDO Seidman?
2 Q. And was the purpose for you traveling to 2 A. Yes.
3 StrataSys to determine whether that company could pay on 3 Q. And as part of your duties as the
4 the accounts receivable that it owed E.S. Bankest of 4 court-appointed receiver of E.S. Bankest, did your use
5 which you were the court-appointed receiver? 5 _ of the audited financial statements affect your
6 MR. SCHNAPP: Your Honor, objection. 6 investigation?
7 Leading. 7 A. Yes.
8 THE COURT: Overruled. 8 Q. And as part of carrying out your duties as
9 THE WITNESS: Yep. 9 the court-appointed receiver, did you try to determine
10 BY MR. THOMAS: 10 whether or not the accounts receivable certified and
11 Q. And was one of the pieces of information 11  BDO's audited financial statements of E.S. Bankest as
12 that you relied upon to carry out your duties as 12 real were actually fake?
13 appointed by a federal court, the cube that you saw at 13 A. Yes.
14 the offices of StrataSys? 14 Q. And in trying to determine in carrying out
15 A. Well, it was part of my investigation, 15 your duties as the court-appointed receiver of E.S.
16 definitely. 16  Bankest, whether those accounts receivable were real or
17 Q. And what -- seeing that cube that you said 17 fake, did you rely upon the information that you were
18 in prior testimony made you stunned, how did that affect 18 able to obtain from StrataSys, one of the clients?
19 your investigation as the court-appointed receiver of 19 A. Yes, I did.
20  Bankest? 20 Q. And was one of the pieces of information you
21 MR. SCHNAPP: Objection, Your Honor. Rule 21 ___ relied upon to carry out your duties, the lucite cube
22 701 and Rule 403. 22 that you saw, showing that BDO Seidman had an alliance :
23 THE COURT: Overnuled. 23 with StrataSys? F
24 THE WITNESS: Gave me no reliance on those 24 A. Yes. H
25 accounts receivable because one side said that they were

 
 

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16 (Pages 272 to 275)

 

  
  
  
  
  
  
  
  
   
  
  
  
  
  
  

 

Page 272 ; Page 2746
1 court-appointed receiver how seeing the lucite cube 1 THE WITNESS: Could I ask the reporter to
2 affected your ability to carry out your duties based 2 read it back again?
3 _ upon the audited financial statements of BDO Seidman? 3 THE COURT: You may.
4 MR. SCHNAPP: Your Honor, I'm going to 4 THE WITNESS: I'm not trying to be
5 object. In particular, I would like to rely on the 5 difficult.
6 motion in limine prior to the argument -- prior to the 6 MR. THOMAS: We appreciate it.
7 commencement of the trial. Also Rules 401, 403 and 701. 7 THE COURT: Go ahead.
8 THE COURT: Overruled. 8 (Thereupon, the court reporter read back the
9 Did you understand the question? 9 requested portion.)
10 THE WITNESS: I'd ask for it to be read 10 THE WITNESS: Made me question them.
11 __ back, and I'll try to answer it. 11 MR. SCHNAPP: Objection. Move to strike.
12 THE COURT: Read it back, Gigi. 12 THE COURT: Overruled.
13 (Thereupon, the court reporter read back the 13. BY MR. THOMAS:
14 requested portion.) 14 Q. And Mr. Freeman, why did seeing the lucite
15 MR. SCHNAPP: Your Honor, I would renew my 15 cube make you question BDO's Seidman's audited financial ;
16 —_ objections. 16 statements of E.S. Bankest?
17 THE COURT: Overruled. 17 MR. SCHNAPP: Your Honor, I object under
18 THE WIINESS: The lucite cube sent a message 18 401, 403, 701, and the motion in limine.
19 tome-- 19 THE COURT: Overruled.
20 THE COURT: Mr. Freeman, you need to 20 THE WITNESS: May I ask the reporter again?
21 understand the question. 21 (Thereupon, the court reporter read back the
22 He obviously didn't understand the question. 22 requested portion.)
23 MR. THOMAS: I will rephrase, Your Honor. 23 THE WITNESS: Yes.
24 I'm going to ask a predicate and then I'll rephrase, 24 BY MR. THOMAS:
25 Your Honor. 25 Q. Why?
Page 273 Page 275—
1 BY MR. THOMAS: 1 MR. SCHNAPP: Objection, Your Honor. Same
2 Q. Mr. Freeman, based upon your review of BDO 2 objections, 401, 403, 701, motion in limine regarding
3 Seidman's audited financial statements certifying the 3 GAAS and GAAP.
4 accounts receivable in the years 1998, 1999, 2000, 2001, 4 THE COURT: Overruled.
5 2002, was your initial understanding as the 5 THE WITNESS: The auditor's report from BDO
6 court-appointed receiver that those accounts receivable 6 dated April 16th says, independent auditor's report.
7 were collectible? 7 The $32 million out of $224 million is over 10 percent
8 MR. SCHNAPP: Objection. No foundation. 8 from a company that I'm now aware of is an affiliate.
9 THE COURT: Sustained. 9 ‘Their independence --
10 Rephrase your question. The problem is not 10 MR. SCHNAPP: (Standing up.)
11. the question. The problem is the understanding of the 11 THE COURT: Sustained.
12 question, and I don't want Mr. Freeman to not be 12 MR. SCHNAPP: J reserve.
13 responsive. It's too critical not to be responsive. 13 THE COURT: The jury is to disregard
14 MR. THOMAS: Thank you, Your Honor. 14 whatever answer was given for the last part of the
15 BY MR. THOMAS: 15 answer.
16 Q. Mr. Freeman, as the court-appointed receiver 16 MR. THOMAS: Your Honor, may I approach your
17 of E.S. Bankest, how did seeing the lucite cube stating 17 ~~ clerk?
18 that BDO Seidman had an alliance with StrataSys affect ™18 THE COURT: You may.
19 your ability to determine whether or not the accounts 19 MR. THOMAS: (Complies.)
20 receivable were real or fake based on BDO's Seidman's 20 Your Honor, may I approach the witness with
21 audited financial statements? 21 ‘Plaintiffs’ Exhibit Number 472 marked for ID?
22 MR. SCHNAPP: Your Honor, can I have a 22 THE COURT: You may.
23 standing objection. 23 What number was that?
24 THE COURT: I have the same rule. 24 MR. THOMAS: 472, Your Honor.
25 Overruled. 25 THE COURT: 472?

 

 
  
     
  
  
  
  
   
  
   
  
   
   
  
  
   
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17 (Pages 276 to 279)

 

   
    
 
   
   
 
  
    
  
  
  
  
 

 

Page 276 Page 278 §
1 MR. THOMAS: Yes, sir. 1 A. Sandy Lenner.
2 BY MR. THOMAS: 2 Q. Mr. Freeman, do you see Sandy Lenner in the
3 Q. Mr. Freeman, what is Plaintiffs' Exhibit 472 3 courtreom today?
4 marked for ID? 4. A. Yes. He's --
5 | A. The lucite cube that I found at the premises 5 Q. Would you please identify him?
6 of StrataSys Corporation on Kendall Drive that first 6 A. -- the third person from the table with the
7 week. 7 gray hair between the lady and the gentleman with the
8 Q. Mr. Freeman, as part of your duties as the 8 reddish tie.
9 _ court-appointed receiver of E.S. Bankest, did you obtain 9 THE COURT: You said reddish tie?
10 =‘ Plaintiffs' Exhibit 472 marked for ID? 10 THE WITNESS: Reddish. Blue. Blue red.
11 A. Yes. 11 MR. THOMAS: Your Honor, I would ask that
12 Q. And in performing your duties as 12 the record reflect that Mr. Freeman has identified
13 court-appointed receiver of E.S. Bankest, is this one of 13 Mr. Sandy Lenner and ask Mr. Sandy Lenner to stand --
14 the things you relied on Plaintiffs’ Exhibit 472? 14 THE COURT: Mr. Sandy Lenner can sit unless
15 A. Yes. 15 he wants to stand, and the record will reflect that he
16 Q. And have you kept Plaintiffs’ Exhibit 472 in 16 is pointing to Mr. Lenner.
17 your possession, custody, and control since the time you [17 MR. THOMAS: Mr. Lenner, would you mind
18 obtained it? 18 standing for the jury? ,
19 A. Yes, sir. 19 MR. LENNER: (Complies.)
20 Q. And is Plaintiffs’ Exhibit 472 marked for ID 20 MR. THOMAS: Thank you.
21 something you've kept in the normal course of your 21 BY MR. THOMAS:
22 business activities as the receiver of E.S. Bankest? 22 Q. Mr. Freeman, as part of your investigation
23 A. Yes, sir. 23 as the court-appointed receiver of E.S. Bankest, did you
24 MR. THOMAS: Your Honor, at this time 24 determine who at BDO Seidman was in charge of the audits
25 plaintiffs move into evidence Plaintiffs’ Exhibit 472. 25 _—_ including verifying whether the StrataSys accounts
Page 277 Page 279—
1 MR. SCHNAPP: No objection. 1 receivable were real or fake?
2 THE COURT: Without objection, Plaintiffs’ 2 A. Yes.
3 Exhibit 472 marked for ID is now 472 into evidence. 3 Q. And who at BDO Seidman was in charge of the
4 MR. THOMAS: Your Honor, I would request 4 audits of E.S. Bankest?
5 permission to publish it to the jury. 5 A. Same person, Sandy Lenner.
6 THE COURT: You may. 6 Q. Mr. Freeman, as part of your investigation,
7 MR. THOMAS: (Complies.) 7 did you determine whether Mr. Freeman had ongoing
8 (Thereupon, the exhibit was shown to the 8 contact with StrataSys at the same time he was the
9 jury.) 9 person in charge of the audit of E.S. Bankest?
10 MR. THOMAS: Your Honor, permission to 10 A. I think you have --
11 approach the witness. il Q. Let me rephrase if I missed it up and I
12 THE COURT: You may. 12 apologize.
13 MR. THOMAS: With your permission, I'm 13 A. I didn't understand it.
14 returning Plaintiffs’ Exhibit 472 to the witness. 14 Q. As part of your investigation as
15 BY MR. THOMAS: 15 _ court-appointed receiver of E.S. Bankest, did you
16 Q. Mr. Freeman, after you saw the lucite cube 16 determine what Mr. Lenner's relationship was with
17 ~=marked as Plaintiffs' Exhibit 472, did you take other 17 = StrataSys?
18 steps to investigate StrataSys? 18 A. Yes.
#19 A. Yes. 19 Q. And did you determine how often he visited
20 Q. And Mr. Freeman, as part of that 20 StrataSys?
21 investigation of StrataSys, did you discover who at BDO 21 MR. SCHNAPP: Objection. No foundation.
22 Seidman was in charge of the relationship between BDO =, 22 THE COURT: Sustained.
23 Seidman and StrataSys? 23 BY MR. THOMAS:
24 A. Yes. 24 Q. Mr. Freeman, as part of your duties

 

Q. Who was that?

 

   

   
  
   
    
  
 
 
 
     
  

   

appointed by the federal court as the receiver, did you

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18 (Pages 280 to 283)

 

    
  
   
    
   
   
  
  
   
   
    
   
  
   

 

 

' Page 280 Page 282 A
1 need to understand whether or not the audited financial 1 Your Honor, with Plaintiffs’ Exhibit Number 435 marked
2 statements of BDO Seidman were reliable? 2 ~~ for ID.
3 A. Yes. 3 BY MR. THOMAS:
4 Q. And in order to carry out your duties, did 4 Q. -Mr. Freeman, Plaintiffs' Exhibit Number 435,
5 you need to understand the relationship between BDO 5 marked for ID, have you seen that document before?
6 Seidman and one of the major clients of E.S. Bankest, 6 A. Yes, Ihave.
7 ~ StrataSys? 7 Q. What is it?
8 A. Yes. 8 A. It's the rider to an alliance agreement,
9 MR. SCHNAPP: Objection. 9 document that was found on the E.S. Bankest property and
10 THE COURT: Overruled. 10 ‘taken control of by me at that time.
11 BY MR. THOMAS: 11 Q. And if you look at -- further into the
12 Q. And to carry out your duties to determine _§ 12 pages, and you look at page 4 of the document, what is
13 the relationship between BDO Seidman and StrataSys, did § 13 that title?
14 you investigate by reviewing documents and interviewing 14 A. Analliance agreement dated August 2001.
15 persons at StrataSys and other places? 15 Q. Mr. Freeman, as part of your duties as the
16 A. Yes, I did. 16 court-appointed receiver of E.S. Bankest, did you obtain
17 Q. And based on that investigation, what did 17 this document?
18 you determine was Mr. Sandy Lenner's role in regards to 18 A. Yes.
19 BDO's relationship with StrataSys? 19 Q. Mr. Freeman, as part of your duties as the
20 MR. SCHNAPP: Your Honor, objection under 20 court-appointed receiver of E.S. Bankest, did you rely
21  ~Rule 604 and hearsay. 21 upon this document?
22 THE COURT: Overruled. 22 A. Isure did.
23 THE WITNESS: The job was to help StrataSys 23 Q. And did you keep it in the ordinary course
24 refer work to BDO and BDO to do work or send work to 24 of your business activities as the court-appointed
25  StrataSys so that they could each share in each other's 25 receiver of E.S. Bankest up and through today?
Page 281 Page 283 F
1 profits. 1 A. Yes.
2 BY MR. THOMAS: 2 MR. THOMAS: At this time, Your Honor,
3 Q. And as part of your investigation, 3 plaintiffs move into evidence Plaintiffs’ Exhibit
4 Mr. Freeman, did you determine whether Mr. Lenner had a 4 Number 435 marked for ID.
5 relationship with Dominick Parlapiano? 5 MR. SCHNAPP: No objection.
6 A. Yes. 6 THE COURT: Without objection, Plaintiffs’
7 Q. And who was Dominick Parlapiano? 7 Exhibit Number 435 for ID is now 435 into evidence.
8 A. Dominick Parlapiano at StrataSys was the 8 BY MR. THOMAS:
9 president, chairman of the board. And E.S. Bankest he 9 Q. Mr. Freeman, based on your investigation,
10 was the chief financial officer, so he was in both 10 what do you understand this document to be?
11 places. 11 A. This is the alliance agreement that was
12 Q. And as part of your investigation, 12 entered into in August of 2001 between StrataSys and
13 Mr. Freeman, did you determine whether or not Mr. Lenner §13 Star Wagon/BDO Seidman.
14 physically visited StrataSys? 14 Q. Could you please turn with me to page 5 of
15 A. Yes. 15 the agreement?
16 Q. And what did your investigation reveal? 16 A. (Complies.)
17 MR. SCHNAPP: Objection, Your Honor. 17 Q. Which is -- it's a little 5 on mine. Ihave
18 Hearsay. 18 Bates stamp ESSTR 002361. Does that help you?
19 THE COURT: Overruled. 19 A. Yes. That's 2360 on the next page.
20 THE WITNESS: That Mr. Lenner visited 20 Q. Mr. Freeman, you previously testified that
21 —_ StrataSys multiple times. 21 StrataSys and BDO Seidman would share profits. If you
22 MR. THOMAS: Your Honor, may I approach the 22 could look at me, please, paragraph (c), little (i).
23 witness? 23 A. Yes, sir.
24 THE COURT: You may. 24 Q. Based upon your review of this document and

   

MR. THOMAS: I'm approaching the witness,

 

 

   

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19 (Pages 284 to 287)

 

  
    
  
  
  
  
  
  
   
  
   
 
  
  
  
  

 

Page 284 Page 286 §
1 ES. Bankest, what did you understand would be the 1 Q. It says the technology alliance member of
2 slnaring arrangement between BDO and StrataSys for 2 StrataSys shall provide to Star Wagon -- which you
3. technology alliance member business development 3 understand to be BDO; is that right?
4 revenues? 4 A. Yes, sir.
5 MR. SCHNAPP: Objection. 604, 701, and 702. 5 Q. -- such information as Star Wagon may
6 THE COURT: Overruled. 6 reasonably request from time to time for the purpose of
7 THE WITNESS: In the bottom it says, equal 7 determining the applicable license fee in accordance
8 to 20 percent. 8 with Section 2 hereof, and the applicable technology
9 BYMR. THOMAS: 9 alliance member business development revenues and
10 Q. 20 percent of those revenues? 10 technology alliance member product revenues in
11 A. Yes, sir. 11 accordance with 5 B and 6 C hereof. Do you see that?
12 MR. THOMAS: Can we have the ability to 12 A. Yes, Ido.
13 highlight that? 13 Q. Now, without going page by page with the
14 (Technician complies.) 14 agreement, based on your investigation as the
15 MR. SCHNAPP: Your Honor, I think it's this 15 court-appointed receiver in addition to sharing
16 microphone that's causing the feedback. 16 revenues, did you understand that StrataSys paid BDO a
17 MR. THOMAS: With Your Honor's permission, 17 _ license fee?
18 we'llsee if we have another one. 18 A. Yes.
19 MR. SCHNAPP: I'll just speak loudly. 19 MR. SCHNAPP: Same objection.
20 BY MR. THOMAS: 20 THE COURT: Overmuled.
21 Q. In addition, Mr. Freeman, did you understand 21 BY MR. THOMAS:
22 that BDO had the right to audit the books and records of {22 Q. The next sentence provides, notwithstanding
23 its alliance partner, StrataSys? 23 _ the foregoing, technology alliance member hereby grants
24 MR. SCHNAPP: Objection, Your Honor. Same 24 to Star Wagon the right to audit the books and records
25 objection as before, 604, 701, and 702. 25 _ of the technology alliance member which pertains in
Page 285 Page 287—
1 THE COURT: Overruled. 1 _ whole or in part to this agreement and its obligations
2 THE WITNESS: Yes, they did. 2 hereunder. Do you see that, Mr. Freeman?
3. BY MR. THOMAS: 3 A. Yes, Ido.
4 Q. Can we please turn to paragraph 7 of the 4 Q. Based on your investigation, did you
5 agreement? 5 understand that BDO Seidman had the right to audit the
6 A. (Complies.) 6 books and records of StrataSys?
7 (Technician complies.) 7 MR. SCHNAPP: Your Honor, I have the same
8 BY MR. THOMAS: 8 objection under Rules 401, 403, 604, 701, and 702.
9 Q. And if we look at A under 7 it says, 9 THE COURT: Overruled.
10 reports. Do you see where I'm talking about 10 THE WITNESS: Yes, they did.
11 Mr. Freeman? 11 BY MR. THOMAS:
12 A. Yes, Ido. 12 Q. Mr. Freeman, could you please turn with me
13 Q. And the first sentence provides -- well, I'm 13 to the non-disclosure agreement which is Plaintiffs'
14 sorry. Let me ask you a separate question. 14 ~=Exhibit 435 in evidence?
15 Do you see a reference here in the agreement 15 (Technician complies.)
16  toStar Wagon? Mr. Freeman, who is Star Wagon? 16 THE WITNESS: (Complies.) Okay.
17 A. That's the entity that BDO created for these 17 BY MR. THOMAS:
18 strategic alliances. 18 Q. Mr. Freeman, what do you understand the
19 Q. So Star Wagon is a BDO entity? 19 non-disclosure agreement to be?
20 A. Yes, sir. 20 A. Non-disclosure agreement --
21 Q. The first sentence provides that the 21 MR. SCHNAPP: Your Honor, J have the same
22 technology alliance members shall provide to Star Wagon. [22 objections.
23 Whois the technology alliance member referred to in 23 THE COURT: Overruled.
24 this paragraph? 24 THE WITNESS: The non --
25 25 MR. SCHNAPP: I'm sorry, not to interrupt.

 

 

A. StrataSys.

   

 

  

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